2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 1 of 121

Message

From: Vaseliou, Molly [Vaseliou.Molly@epa.gov]

Sent: 3/4/2025 10:02:19 PM

To: Jehling, Erica [Jehling.Erica@epa.gov]

cc: Loving, Kathryn [Loving.Kathryn@epa.gov]; Mandy, Cora [Mandy.Cora@epa.gov]
Subject: Re: Pending Grant Cancellations - $116M

Our release just went out. Forwarding it your way in case you didn’t get it. We’ll also push out on social media.

Get Outlook for iOS

From: Jehling, Erica <Jehling.Erica@ epa.gov>

Sent: Tuesday, March 4, 2025 12:13:41 PM

To: Vaseliou, Molly <Vaseliou.Molly@epa.gov>

Ce: Loving, Kathryn <Loving.Kathryn@epa.gov>; Mandy, Cora <Mandy.Cora@epa.gov>
Subject: RE: Pending Grant Cancellations - $116M

Yes!

From: Vaseliou, Molly <Vaseliou.Molly@epa.gov>

Sent: Tuesday, March 4, 2025 12:13 PM

To: Jehling, Erica <Jehling.Erica@ epa.gov>

Cc: Loving, Kathryn <Loving.Kathryn@epa.gov>; Mandy, Cora <Mandy.Cora@epa.gov>
Subject: RE: Pending Grant Cancellations - $116M

We’re working up a release right now. Can you hold on your tweet until the press release is out?

Molly Vaseliou
Associate Administrator for Public Affairs
Environmental Protection Agency

From: Jehling, Erica <Jehling.Erica@epa.gov>
Sent: Tuesday, March 4, 2025 12:12 PM

To: Vaseliou, Molly <Vaseliou.Molly@epa.gov>
Ce: Loving, Kathryn <Loving.Kathryn@epa.gov>
Subject: Pending Grant Cancellations - $116M

Hi Molly,

Great news, we obtained alignment with political leadership to cancel 21 grants totaling $116M for the program “reducing
embodied GHG Emissions for Construction Materials and Products” environmental product declaration assistance
program. Full descriptions below.

The start to an X Post

EPA cancels 21 pending grants totaling $116M for reducing GHG emissions for construction materials that do not align
with the EPA’s priorities.

Dan’s team is working on processing these cancellations today, so I would not post today until it is complete.

Thanks,
Erica

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yANoyo}iCereUal MN Eeliats) mae aCe toda mc

This agreement provides funding under the Inflation
Reduction Act (IRA) to Rochester Institute of Technology.
This program is to support the development, enhanced
standardization and transparency, and reporting criteria for
environmental product declarations (EPDs) which include
the measurement of embodied greenhouse gas emissions
associated with all relevant stages of production, use, and
disposal, in conformance with international standards. The
recipient will assist small construction material
manufacturers who recapture &ldquo;waste&rdquo; to
manufacture new materials and products. RIT will
complete |SO-compliant LCAs using existing, modified or
newly developed PCRs and facilitate EPD publication,
then examine LCA results, assess improvement
opportunities, and assist with implementation. RIT plans to
review the process of conducting the LCAs and publishing
the EPDs for any gaps or challenges. The project includes
conducting a webinar for construction material
manufacturers disseminating project results to industry
practitioners, architects, builders, and other stakeholders,
as well as submitting new upstream and downstream LCI
data to the Federal LCA Commons. RIT aims to enhance
the environmental impact data related to the production of
construction materials and products, specifically those
utilizing post-consumer waste. By providing technical

EPD assistance and conducting comprehensive life cycle
Development for assessments, the initiative seeks to promote a more
Construction circular economy, reduce landfill waste, conserve natural
Materials &amp; resources, and lower embodied carbon. RIT will partner
Products that with small manufacturers, such as KLAW Industries LLC

Reduce Climate and Pioneer Millworks Inc., to develop and publish EPDs
Change Impacts _ for products like cement, concrete and reclaimed wood.

ROCHESTER and Advance The project will also address potential gaps in existing
INSTITUTE OF Private the Circular standards and processes, fostering greater adoption of
TECHNOLOGY University $1,298,635.00 Economy sustainable materials across the construction industry.

This agreement provides funding under the Inflation
Reduction Act (IRA) to the National Glass Association
(NGA). This program is to support the development,
enhanced standardization and transparency, and reporting
criteria for environmental product declarations (EPDs)
which include the measurement of embodied greenhouse
gas emissions associated with all relevant stages of
production, use, and disposal, in conformance with
international standards. The recipient will focus on
collecting and updating LCI data for primary flat glass on a
more regionalized basis with improved data quality. Also
focus on development of an EPD generator tool for
processed glass that will expand access and speed EPD
development further into the product supply chain to glass
fabricators. And, focus on providing technical, educational,
and financial assistance to glass fabricator members for
EPD development. Lastly, will improve the understanding
about glass end-of-life and quality of LCA part D data, this
subproject will work with glass recycling company

{8622 - NATIONAL members of NGA on several deconstruction projects to
GLASS Not for National Glass quantify glass recovery rates and track end-use outcomes
ASSOCIATION Profit $2,146,625.00 Association FR for recycled glass.

The EIFS Industry Members Association (EIMA) is a
nonprofit trade association that represents the Exterior

{7534 - EIFS EPD Assistance _ Insulation and Finish Systems (EIFS) industry, including
Industry Members Not for Grant - Exterior | suppliers, manufacturers, contractors, architects and other
Association Profit $2,189,939.00 Insulation- EIFS EIFS industry stakeholders. EIFS is an integrated, cost-

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t6083 - PORTLAND

CEMENT
ASSOCIATION

WEST VIRGINIA
UNIVERSITY
RESEARCH
CORPORATION

Not for.
Profit

Not for
Profit

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effective, durable and highly energy-efficient exterior
cladding system used -broadly.in construction projects.in
the U.S.-EIMA will develop robust EPDs for EIFS
products, producing a combination of industry-wide and
facility-based EPDs.

EIFS is a modem, multi-layer, durable, and highly -energy-
efficient exterior cladding solution used broadly.in
construction. projects inthe United States and
internationally.

it was introduced in the United States in 1969 and is used
ina broad array-of construction applications including
housing, hospitals, casinos, hotels, shopping malls,
schools, and many-more private and:commercial building
uses.

Portland
Cement
Association
(PCA)-
Reducing
Embodied
Greenhouse
Gas Emissions
for Cementitious

$2,445 ,363.00° Materials

Technical
Assistance
Program to
Reduce
Embodied
Greenhouse
Gas Emissions
for-Construction
Materials and

$2,486,224.00- Products

This agreement provides funding under the Inflation
Reduction Act (IRA) to Portland Cement Association
(PCA). This program is to support the development,
enhanced standardization and transparency, and reporting
criteria for-environmental product declarations (EPDs)
which include the measurement of embodied greenhouse
gas emissions associated with all relevant stages of
production, use, and disposal, in conformance with
international standards. The recipient will establish.a
rebate incentive program for manufacturers to develop and
provided third party verified EPDs. Additionally, strives to
develop industry-wide EPDs via one or more contracted
consultants.Lastly, participate in the develop -of the PCR
for SCM_and continue to provide. educational aspects to
stakeholders.

This agreement provides funding under the Inflation
Reduction Act (IRA) to West Virginia University Research
Corporation. This program is to.support the development,
enhanced standardization and transparency, and reporting
criteria for environmental product declarations (ERDs)
which include the measurement of embodied greenhouse
gas emissions associated with all relevant stages of
production, use, and disposal, in conformance with
international standards. The recipient will provide technical
assistance to. West Virginia construction material
manufacturers in developing EPDs under new and
updated PCRs. This project will include onsite technical
assistance, training, and workshops. Specifically, the
project. will support businesses in-West Virginia and
neighboring states to create robust EPDs through
comprehensive life cycle assessments, with a focus on
small businesses in rural and disadvantaged communities.
The initiative will include industry-targeted outreach,
database enhancement, on-site and off-site technical
assistance, training workshops, webinars and community
outreach. This multi-faceted approach is designed to lower
emissions of hazardous and other locally.impacting
pollutants, thereby improving air quality and public health.
The_project will leverage existing networks and
partnerships with organizations like the West Virginia
Manufacturing Extension Partnership and the West
Virginia Office of Economic Development. It will develop a
baseline database of construction material manufacturers,
distribute draft EPDs and guidance documents, and
provide personalized on-site technical-assistance through
planned visits. Additionally,-the project will engage
businesses through conferences and create a public
domain EPD sharing platiorm to. make the knowledge and
EPDs accessible to all. By helping businesses develop
and verify EPDs, the project will enhance their.
competitiveness in supplying federal and institutional
construction projects, thereby fostering economic.growth
and job creation.

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CORNELL Private

UNIVERSITY University $2,499,999.00
State
Institution

University of Texas of Higher

at Austin Learning $3,268,757.00

19814 -

INTERNATIONAL

CODE COUNCIL, Not for

INC. Profit $3,500,000.00

Reducing
Embodied
Greenhouse
Gas Emissions
for Construction
Materials and
Products

Uncertainty
Assessment
Framework for.
Robust PCRs of
Salvaged.and
Remanufactured
Construction
Materials
Northwest
Building
Sustainability
Initiative:
Enhancing EPD
Development for
Oregon and
Washington
Manufacturers

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This agreement provides funding under the Inflation
Reduction Act (IRA) to Cornell University. This program is
to support the development, enhanced standardization and
transparency, and reporting criteria for environmental
product declarations (EPDs) which include the
measurement of embodied greenhouse gas emissions
associated with all relevant stages of production, use, and
disposal, in conformance with international standards. The
recipient will address gaps and challenges in the
deconstruction-to-reuse value chain by convening experts
across academia, industry and nonprofit organizations.
The group will develop a Salvaged Products Passport
(SPP) that combines a robust EPD+ dataset with elements
of a product catalog (or materials passport) to enable
adoption of reuse by industry at scale. With their project
partners - the Comell University Circular Construction
Laboratory (CCL), Urban Machine (UM), Finger Lakes
ReUse (FLR) and Build Reuse (BR) &ndash; the grantee
will develop a process and template called Salvage EPD
(SEPD) that will function as a product catalog for salvaged
materials when used with a materials passport. These two
sources of documentation will form a Salvaged Products
Passport (SPP). The goals of the SPP are to spur market
demand, enable application and procurement of salvaged
materials, increase the transparency of greenhouse gas
data, and assist businesses in disclosing and verifying this
data.

This.agreement provides funding under the Inflation
Reduction Act (IRA) to.-The University:of Texas at Austin.
This program is to support the development, enhanced
standardization and transparency, and reporting criteria for
environmental product declarations (EPDs) which include
the measurement of embodied greenhouse gas emissions
associated with all relevant stages of production, use, and
disposal, in conformance with international standards. The
recipient will develop supply chain emission data sets for
three salvage product categories: dimensional lumber,
commercial doors and waste plastic. Using these.data
sets, The University. of Texas at Austin intends to develop
PCRs for salvaged materials and establish a framework for
robust EPDs for salvaged materials. The project also
includes an open-source toolkit for-computing the
environmental impacts of salvaged construction products
and materials.

Partnering with Urban Machine, re:3D, Doors Unhinged,
The Reuse People and Florida A&amp;M University, this
project aims to develop robust product category rules
(PCRs) for salvaged and remanufactured construction
materials. The project seeks to quantify the greenhouse
gas and air quality impacts. associated with
remanufacturing processes by conducting a
comprehensive uncertainty assessment for materials such
as dimensional lumber, commercial doors and 3D-printed
waste plastic. ‘This data will help create transparent EPDs,
enhancing confidence in the environmental benefits of
using remanufactured materials over raw/virgin products.
This project will contribute to reducing greenhouse gas
emissions and to support a growing marketplace for.
sustainable construction materials.

This agreement provides funding under the Inflation
Reduction Act (IRA) to the International Code Council -
Environmental Services. This program is to support the
development, enhanced standardization and transparency,
and reporting criteria for environmental product
declarations (EPDs) which include the measurement of
embodied greenhouse gas emissions associated with all
relevant stages of production, use, and disposal, in
conformance with international standards. The recipient

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will develop robust EPDs in major material sectors such
as: concrete, steel, wood, and emerging materials that
currently do not have significant representation in the EPD
market.

This agreement provides funding under the Inflation
Reduction Act (IRA) to Rebuilding Exchange. This
program is to support the development, enhanced
standardization and transparency, and reporting criteria for
environmental product declarations (EPDs) which include
the measurement of embodied greenhouse gas emissions
associated with all relevant stages of production, use, and
disposal, in-conformance with international standards. The
recipient will use data collected at its two reuse stores and
through its deconstruction services to demonstrate the
reduced embodied greenhouse gas in salvaged
construction materials. Through this project, they will
develop 25 EPDs, train 150 participants through a
workforce training program, and share data online. The
goal of the project.is to enhance the quality of greenhouse
gas data associated with salvaged materials, provide tools
for other practitioners, create new/updated EPDs that

(9433 - EVANSTON demonstrate the significant embodied carbon reduction
REBUILDING Not for Rebuilding and other environmental impacts of salvaged materials,
WAREHOUSE Profit $3,887,329.00. Exchange - FR and spur market demand.

This agreement provides funding under the Inflation
Reduction Act (IRA) to The University of California, Davis.
This program is to support the development, enhanced
standardization and transparency, and reporting criteria for
environmental product declarations (EPDs) which include
the measurement of embodied greenhouse gas emissions
associated with all relevant stages of production, use, and
disposal, in conformance with international standards. The
recipient will develop guidance for new Product Category
Rule (PCR) creation and Environmental Product
Declaration (EPD) verification. The activities will expand
EPD scope beyond cradle-to-gate and recommend

performance categories and functional categorization
methods for fair, ttansparent material comparisons.

This project will target asphalt and concrete pavement
materials. Technical guidance, online educational
materials, and training for EPD developers and consumers
will raise awareness about knowledge gaps, database

Reducing inconsistencies, and decision-making approaches,
Embodied including project life cycle assessment. Annual workshops
Greenhouse will facilitate stakeholder communication, while educational
State Gas Emissions materials and training for minority-serving colleges and
UNIVERSITY OF institution for Construction | community colleges in underserved census areas will
CALIFORNIA, of Higher Materials and increase workforce diversity in the construction materials
DAVIS Learning $4,222,307.00 Products sector.

This agreement provides funding under the Inflation
Reduction Act (IRA) to International Living Future Institute
(ILFI). This program is to support the development,
enhanced standardization and transparency, and reporting
criteria for environmental product declarations (EPDs)
which include the measurement of embodied greenhouse
gas emissions associated with all relevant stages of
production, use, and disposal, in conformance with
international standards. The recipient will develop
&quot:Declare Environment, &quot; a new product label

t1259 - that will simplify the disclosure of complex EPD data. The
INTERNATIONAL Label Program project aims to increase EPD adoption, improve product
LIVING FUTURE Not for for Advancing environmental performance, and foster industry
INSTITUTE Profit $4,662,182.00 _ EPD Adoption awareness.

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AWC:
Expanding data
and enhancing
transparency of

(8613 - AMERICAN | Not for U.S. Wood

WOOD COUNCIL Profit $6,000,000.00 Products

t6030 -

COLLABORATIVE

COMPOSITE

SOLUTIONS Not for ACMA-IACMI

CORP Profit $6,000,000.00. -CIRCLE FR
Enabling Robust
EPDs for
Biogenic

t9952 - Hemp Not for Building

Building Institute Profit $6,186,200.00 Materials
SteelEPD:
Accelerating
Steel Industry

State Sustainability

UNIVERSITY OF institution through Robust

MASSACHUSETTS. "of Higher Data and EPD

LOWELL Learning $6,371 ,426.00.. Generation
NRMCA

t9195 - NATIONAL Accelerating

READY-MIXED Concrete's Drive

CONCRETE Not for to Carbon

ASSOCIATION Profit $9,632,293.00 Neutrality FR

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This agreement provides funding under the Inflation
Reduction Act (IRA) to the American Wood Council. This
prograrn is to support the development, enhanced
standardization and transparency, and reporting criteria for
environmental product declarations (EPDs) which include
the measurement of embodied greenhouse gas emissions
associated with all relevant stages of production, use, and
disposal, in conformance with international standards. The
recipient will expand the amount of data and enhance
transparency about U.S. wood product.

This agreement provides funding under the Inflation
Reduction Act (IRA) to ACMA-IACMI CIRCLE Partnership.
This program is to support the development, enhanced
standardization and transparency, and reporting criteria for
environmental product declarations (EPDs) which include
the measurement of embodied greenhouse gas emissions
associated with all relevant stages of production, use, and
disposal, in.conformance with international standards. The
recipient (ACMA and [ACMI-CIRCLE partnership) will
deploy an industry-funded LCA-EPD generator and assist
manufacturers in developing EPDs for composite
construction materials and products. The project includes
developing new Product Category Rules.(PCRs) and
modifying existing PCRs where needed, educating more
than 200 manufacturers and their customers.on the use of
EPDs, and working with.universities to.develop gate-to-
grave data that.can be incorporated into. EPDs. This
project will address a current need as well as harmonize
technological advancement with environmental
responsibility and pave the way-for.a more sustainable
future in construction and.infrastructure.

This agreement provides funding under the Inflation
Reduction Act (IRA) to Hemp Building Institute. This
program is to support the development, enhanced
standardization and transparency, and reporting criteria for
environmental product declarations (EPDs) which include
the measurement of embodied greenhouse gas emissions
associated with all relevant stages of production, use, and
disposal, in conformance with international standards. The
recipient will provide a baseline understanding of current
EPDs and LCAs for biogenic materials, identification of
improvement areas and standardized PCRs for biogenic
materials, work with the existing PCR committee for
Agricultural Crops to strengthen their work and create a
robust cradle to gate PCR for agricultural crops used in
building materials, design and develop an EPD generator,
create a Measurement, Reporting and Verification (MRV)
system, and develop training modules to conduct webinar
training sessions to help industry create EPDs using their
tool.

This agreement provides funding under the Inflation
Reduction Act (IRA) to. University of Massachusetts. This
program is to support the development, enhanced
standardization and transparency, and reporting criteria for
environmental product declarations (EPDs) which include
the measurement of embodied greenhouse. gas emissions
associated with all relevant stages of production, use, and
disposal, in conformance with international standards. The
recipient will reduce the environmental impacts of
domestic.construction activity, steel production, and
product manufacturing through increasing the quality,
transparency, and geographic coverage of life cycle
inventories and resultant EPDs representing steel
products.

This agreement provides funding under the Inflation
Reduction Act (IRA) to National Ready-Mix Association
(NRMCA). This program is to support the development,
enhanced standardization and transparency, and reporting
criteria for environmental product declarations (EPDs)

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(0497 - AMERICAN
CENTER FOR LIFE

Date Filed 04/21/25

ACLCA Robust
EPD three-
pronged “WED'
Approach
&ndash;
Workforce
development
(W),EPD
standardization
(E), and Data
integration and

CYCLE Not for harmonization
ASSESSMENT Profit $9,696,503.00- _(D).
(9174 -
PRESTRESSED
CONCRETE Not for
INSTITUTE Profit $9,975,000.00 PCIFR

FY-25

State Oklahoma State

OKLAHOMA Institution University-EPD
STATE of Higher Assistance
UNIVERSITY Learning $9,990,311.00. Grant

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which include the measurement of embodied greenhouse
gas emissions associated with all relevant stages of
production, use, and disposal, in conformance with
international standards. The recipient will establish a
reimbursement and or rebate program to provide
incentives for manufacturers to develop EPDs.
This.agreement provides funding under the Inflation
Reduction Act (IRA) to the American Center for-Life Cycle
Assessment. This program is to support the development,
enhanced standardization and transparency, and reporting
criteria for environmental product declarations (EPDs)
which include the. measurement of embodied greenhouse
gas emissions associated with all relevant stages of
production, use, and disposal, in conformance with
international standards. The recipient will increase the
number of practitioners in the field by-establishing LCA
competencies and other:industry standards, enhancing
EPD standardization across sectors by updating
ACLCA&rsquo;s PCR Guidance and.a PCR repository,
and establishing a life cycle inventory data center.to curate
and support background data for use in PCRs. This project
will yield an adoptable framework to reduce.embodied
greenhouse.gas_ emissions in-construction materials and
products.

This agreement provides funding under the Inflation
Reduction Act (IRA) to the Precast/ Prestressed Concrete
institute (PC). This program is to support the
development, enhanced standardization and transparency,
and reporting criteria for environmental product
declarations (EPDs) which disclose the measurement of
embodied greenhouse gas emissions associated with all
relevant stages of production, use, and disposal in
conformance with international standards. This project
focuses on updating the existing precast concrete Product
Category Rule (PCR) and producing product-specific
Environmental Product Declarations (EPDs) across three
trade associations: PCI, the National Precast Concrete
Association (NPCA) and the American Concrete Pipe
Association (ACPA). It will entail updating the existing
PCR, developing an EPD generator tool, and providing
training and support to member companies for producing
EPDs with the tool. The project also allows for the creation
of EPDs under the current PCR while an update is
conducted. The project will empower precast concrete
manufacturers to develop and produce compliant EPDs,
providing transparent and verifiable embodied carbon
information to buyers and sellers of precast concrete. The
project will partner with NPCA and ACPA to implement this
project, reducing embodied greenhouse gas emissions in
line with the Inflation Reduction Act and EPA guidelines.
By enhancing the PCR and developing a new EPD
generator tool, the project will support over 500
manufacturers in producing more than 1,500 new or
updated EPDs and ultimately positioning the U.S. precast
concrete industry as a leader in embodied carbon
reporting and disclosures.

This agreement provides funding under-the Inflation
Reduction Act (IRA) to Oklahoma State University. This
program is to support the development, enhanced
standardization and transparency, and reporting criteria for
environmental product declarations (EPDs) which include
the measurement of embodied greenhouse gas emissions
associated with all relevant stages .of production, use, and
disposal, in conformance with international standards. The
recipient will lead the creation of the National Center for
Sustainable Construction. Materials to promote low-carbon
construction materials (LCCMs) and generate robust EPDs
for materials such as asphalt, concrete, steel and their

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additives. In collaboration with 11 universities across the
U.S.; the project will provide extensive training, create
educational programs, and design tools and incentives for
adopting LCCMs in the market..It also focuses on
developing benchmarking methods, identifying high-impact
parameters beyond global warming potential, and
integrating EPDs into construction specifications,.The
Center's efforts include K&ndash;12 outreach and
workforce development to nurture future. professionals in
sustainable construction.

This agreement provides funding under the Inflation
Reduction Act (IRA) to University of Washington. This
program is to support the development, enhanced
standardization and transparency, and reporting criteria for
environmental product declarations (EPDs) which include

Validating and the measurement of embodied greenhouse gas emissions
Expanding associated with all relevant stages of production, use, and
State Research and disposal, in conformance with international standards. The
institution Education for recipient will focus on advancing robust data for EPDs,
UNIVERSITY OF of Higher LCA Policy and provide rigorous LCA training to students and
WASHINGTON Learning $9,990,668.00 (VERE-LCA) professionals.

This agreement provides funding under the Inflation
Reduction Act (IRA) to the National Asphait Pavement
Association. This program is to support the development,
enhanced standardization and transparency, and reporting
criteria for environmental product declarations (EPDs)
which. include the measurement of embodied greenhouse
gas emissions associated with all relevant stages of
production, use, and disposal, in conformance with
international standards. The recipient will focus on: (1)
making EPDs for-asphalt mixtures more robust and
broadly available by.improving the existing EPD program
and _ providing rebates for companies. who publish EPDs;
and (2) implementing workforce development and
education programs.on EPDs for-asphalt mixtures. The
NAPA project&rsquo;s key.partners include Auburn

t7105.--NATIONAL University, the University of New Hampshire, Oklahoma
ASPHALT State. University, the University.of Washington, the
PAVEMENT. Not for FY25.NAPA University of Nevada at-Reno, Construction Partners Inc.;
ASSOCIATION INC= -Profit $10,000,000.00.. EPD Assistance... “and Lindy Paving.

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Message

From: Vaseliou, Molly [Vaseliou.Molly@epa.gov]

Sent: 3/4/2025 10:02:34 PM

To: Jehling, Erica [Jehling.Erica@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]

Subject: Fw: EPA Administrator Lee Zeldin Cancels 21 Additional Grants in 3rd Round of Cuts with DOGE, Saving Americans
More than $116M

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From: EPA Press <EPAPress@govdelivery.epa.gov>

Sent: Tuesday, March 4, 2025 4:59:09 PM

To: Vaseliou, Molly <Vaseliou.Molly@epa.gov>

Subject: EPA Administrator Lee Zeldin Cancels 21 Additional Grants in 3rd Round of Cuts with DOGE, Saving Americans
More than $116M

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EPA Administrator Lee Zeldin Cancels 21 Additional Grants in 3rd
Round of Cuts with DOGE, Saving Americans More than $116M

WASHINGTON - Today, U.S. Environmental Protection Agency (EPA) Administrator Lee Zeldin, with the
assistance of the Department of Government Efficiency (DOGE), identified and cancelled another 21 grants
amounting to $116,449,761 total immediate taxpayer savings. The third round of EPA cuts in partnership with
DOGE marks more than $287 million taxpayer dollars saved since the Administrator was sworn in 31 days
ago.

“At EPA, we are working in partnership with DOGE to fulfill President Trump’s promise to rein in wasteful
federal spending. In just 31 days, our line-by-line review of agency spending has brought the total taxpayer
dollars saved to more than $287 million. We will not stop until we ensure every taxpayer penny spent is to
advance clean air, land and water and Power our Great American Comeback for all Americans,”
Administrator Zeldin said.

These grant cancellations represent more than $116 million saved as the EPA prioritizes policies aligned with
President Trump’s commitment to safeguard human health and the environment while reviving the economy
and unleashing American energy dominance.

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Last week, Administrator Zeldin announced the cancellation of 20 grants for wasteful DEI and environmental
justice programs saving more than $60 million. Prior to that, the Administrator cancelled nine DEI! and
environmental justice contracts resulting in nearly $60 million of taxpayer savings, terminated a $50 million
Biden-era environmental justice grant to the Climate Justice Alliance, ended more than a million dollars in media
subscriptions, and uncovered extensive troubling developments with $20 billion in “gold bars” the Biden EPA
parked at an outside financial institution to rush out the door and circumvent proper oversight. As has been
reported, the Justice Department has an ongoing investigation regarding these funds.

EPA continues to work diligently to implement President Trump’s executive orders and implementation
memos.

= Ame LO)vA

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This email was sent to vaseliou.molly@epa.gov using govDelivery Communications Cloud on behalf of: EPA Office of the Administrator (=r
+ 1200 Pennsylvania Ave NW, Washington, DC 20460

EPA_00038658
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 11 of 121

Message

From: Vaseliou, Molly [Vaseliou.Molly@epa.gov]

Sent: 3/4/2025 10:02:34 PM

To: Jehling, Erica [Jehling.Erica@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]

Subject: Fw: EPA Administrator Lee Zeldin Cancels 21 Additional Grants in 3rd Round of Cuts with DOGE, Saving Americans
More than $116M

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From: EPA Press <EPAPress@govdelivery.epa.gov>

Sent: Tuesday, March 4, 2025 4:59:09 PM

To: Vaseliou, Molly <Vaseliou.Molly@epa.gov>

Subject: EPA Administrator Lee Zeldin Cancels 21 Additional Grants in 3rd Round of Cuts with DOGE, Saving Americans
More than $116M

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EPA Administrator Lee Zeldin Cancels 21 Additional Grants in 3rd
Round of Cuts with DOGE, Saving Americans More than $116M

WASHINGTON - Today, U.S. Environmental Protection Agency (EPA) Administrator Lee Zeldin, with the
assistance of the Department of Government Efficiency (DOGE), identified and cancelled another 21 grants
amounting to $116,449,761 total immediate taxpayer savings. The third round of EPA cuts in partnership with
DOGE marks more than $287 million taxpayer dollars saved since the Administrator was sworn in 31 days
ago.

“At EPA, we are working in partnership with DOGE to fulfill President Trump’s promise to rein in wasteful
federal spending. In just 31 days, our line-by-line review of agency spending has brought the total taxpayer
dollars saved to more than $287 million. We will not stop until we ensure every taxpayer penny spent is to
advance clean air, land and water and Power our Great American Comeback for all Americans,”
Administrator Zeldin said.

These grant cancellations represent more than $116 million saved as the EPA prioritizes policies aligned with
President Trump’s commitment to safeguard human health and the environment while reviving the economy
and unleashing American energy dominance.

EPA_00038663
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 12 of 121

Last week, Administrator Zeldin announced the cancellation of 20 grants for wasteful DEI and environmental
justice programs saving more than $60 million. Prior to that, the Administrator cancelled nine DEI! and
environmental justice contracts resulting in nearly $60 million of taxpayer savings, terminated a $50 million
Biden-era environmental justice grant to the Climate Justice Alliance, ended more than a million dollars in media
subscriptions, and uncovered extensive troubling developments with $20 billion in “gold bars” the Biden EPA
parked at an outside financial institution to rush out the door and circumvent proper oversight. As has been
reported, the Justice Department has an ongoing investigation regarding these funds.

EPA continues to work diligently to implement President Trump’s executive orders and implementation
memos.

= Ame LO)vA

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+ 1200 Pennsylvania Ave NW, Washington, DC 20460

EPA_00038664
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 13 of 121

Message

From: Coogan, Daniel [Coogan.Daniel@epa.gov]

Sent: 3/4/2025 10:06:29 PM

To: Jehling, Erica [Jehling.Erica@epa.gov]

cc: Loving, Kathryn [Loving.Kathryn@epa.gov]

Subject: Daily Summary Report of Grant Terminations as of 03/04/2025

Attachments: Grant Terminatons List.xlsx; Grant Terminations Report 2025.03.04.pdf

Just shy of $200M.

Dan

EPA_00038665
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 14 of 121

This document is produced in native format.

Original file name:

Grant Terminatons List.xlsx

EPA_00038666 - EPA_00038677
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 15 of 121

Grant Termination Summary Report
Data compiled as of 03/04/2025

No. of Grants Compass No. of Grants Not Amount Not Yet

Awarded and AmountAwarded Remaining Amount Yet Awarded and Awarded and
Region/HQ Cancelled and Cancelled (Estimate) Cancelled Cancelled
RO1 1 $500,000 $331,894 0 $0
RO2 0 $0 $0 0 $0
RO3 4 $21,000,000 $14,304,280 0 $0
RO4 2 $11,500,000 $8,947,408 0 $0
RO5 3 $20,000,000 $14,386,079 0 $0
ROG 2 $1,000,000 $643,182 0 $0
RO7 1 $8,000,000 $6,150,076 0 $0
ROS 1 $7,000,000 $6,430,046 0 $0
ROO 4 $9,600,000 $7,769,459 0 $0
R10 2 $8,500,000 $6,883,089 0 $0
HQ 1 $8,000,000 $5,526,117 22 $128,417,009
Total 21 $95,100,000 $71,371,630 22 $128,417,009

Total Amount Awarded and Cancelled by Region (%)

mRO1
mRO2
wRO3
mRO4
wROS
m ROG
wRO7
wRO8
wROS9
mR10
HQ

EPA_00038678

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 16 of 121

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/5/2025 7:02:02 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-05

Attachments: Contract_Terminations_withAmounts_2025-03-05.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-05, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00038679
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 17 of 121

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-03-05.xIsx

EPA_00038680 - EPA_00038699
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 18 of 121

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/5/2025 9:00:50 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00038700
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 19 of 121

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Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00038701 - EPA_00038772
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 20 of 121

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/6/2025 7:01:03 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-06

Attachments: Contract_Terminations_withAmounts_2025-03-06.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-06, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00038892
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 21 of 121

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-03-06.xIsx

EPA_00038893 - EPA_00038912
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 22 of 121

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/6/2025 9:00:29 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00038913
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 23 of 121

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00038914 - EPA_00038985
2:25-Cv-02152-RMG

Date Filed 04/21/25

Entry Number 109-2

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Message

From: Coogan, Daniel [Coogan.Daniel@epa.gov]

Sent: 3/7/2025 4:55:59 PM

To: Jehling, Erica [Jehling.Erica@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]
Subject: RE: Contracts to Cancel per 3.7.25 Meeting

Got it—I also have a note into OCFO so they are putting controls in ASAP on the 8 programs that Travis

identified.

From: Jehling, Erica <Jehling.Erica@ epa.gov>

Sent: Friday, March 7, 2025 11:55 AM
To: Coogan, Daniel <Coogan.Daniel@epa.gov>; Loving, Kathryn <Loving.Kathryn@epa.gov>
Subject: Contracts to Cancel per 3.7.25 Meeting

Hi Dan,

Below is the list of contracts that Travis agreed we should cancel in the meeting. Can you please send to him for final

written confirmation?

Notes from EAS RECIPIENT Ceiling Obligation
PID description NAME DESCRIPTION Amount Amount
Communications /
engagement / film
making / graphic design ORIA/IED
for the following COMMUNICATIONS,
programs: Asthma ENGAGEMENT AND
Program, Emergency GENERAL PROGRAM
Preparedness, Response, SUPPORT CALL ORDER
and Recover Program, WILL SUPPORT GENERAL
Healthy Indoor SCIENTIFIC COMMUNICATIONS AND
68HERH23F0165 | Environments in Schools | CONSULTING OUTREACH FOR THE $10,414,457 | $2,266,712
Initiative, Household GROUP INC ASTHMA PROGRAM,
Energy and Clean INCLUDING SENDING
Cooking Initiative, EMAIL CAMPAIGNS AND
Indoor airPLUS, Radon MAINTAINING CONTACT
Program, IAQ Science LISTS, PROMOTING
Program, Secondhand ASTHMA AWARENESS
Smoke Program, MONTH A
Radiation Protectoin
Division.
The overall goal of this
task order is to improve
the technical and CAPACITY-BUILDING TO
institutional capacity of SUPPORT DEVELOPING
developing countries in COUNTRY REPORTING
order for them to ICF UNDER THE PARIS
68HERH24F0213 | develop and report high- | INCORPORATED, | AGREEMENT. PERIOD OF $2,368,235 | $1,225,000
quality BTRs to meet L.L.c. PERFORMANCE 4/10/2024
Paris Agreement THROUGH 4/9/2025. COR
reporting requirements KEYLE HORTON
on a sustainable, timely HORTON. KEYLE@EPA.GOV
basis. These high-quality
BTRs will include the

EPA_00040782

2:25-Cv-02152-RMG

following key elements:
1) compiling GHG
Inventories, specifically
for the Agriculture,
Forestry, and Other Land
Use (AFOLV) sectors, 2)
tracking progress
towards

meeting their NDCs, 3)
developing GHG
emissions and removals
projections, and 4)
tracking the
implementation of
policies and measures
and their GHG emission
reduction impacts.

Date Filed 04/21/25

Entry Number 109-2

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68HERH24F0350

The purpose of this task
order is to provide
EPA’s CPRC with
assistance in offering
ECCR-related training to
EPA staff and managers
to prevent difficult issues
and controversies that
may arise in their work,
where possible, and to
constructively discuss,
address or resolve them
when they do occur (per
EPA’s Policy on
Alternative Dispute
Resolution, Federal
Register, volume 65,
issue 249, 12/27/00).

EASTERN
RESEARCH
GROUP INC

CONFLICT PREVENTION
AND RESOLUTION CENTER
TRAINING JUST-IN-TIME
SERVICES

$1,256,075

$140,000

68HERH24F0193

The EPA will work with
other U.S. agencies and
organizations to provide
technical assistance to
developing countries to:
« Improve capacity to
better estimate GHG
emissions and sinks for
the Energy, Industrial
Product and Product Use
(IPPU), and Waste
sectors, including
through development
and use of estimation
tools

¢ This technical
assistance will help
developing countries
build their capacity to
meet Paris Agreement
reporting requirements.
Work under this task
order will involve
providing direct bilateral
technical assistance for
up to 20 authorized
developing countries (or

EASTERN
RESEARCH
GROUP INC

ENERGY, IPPU AND WASTE
SECTOR CAPACITY-
BUILDING TO SUPPORT
DEVELOPING COUNTRY
GHG INVENTORY
REPORTING UNDER THE
PARIS AGREEMENT COR:
KEYLE HORTON ALT COR:
JOHN STELLER

$1,586,296

$696,691

EPA_00040783
2:25-Cv-02152-RMG

more if regional
approaches are proposed
as the preferred
implementation
mechanism).

Date Filed 04/21/25

Entry Number 109-2

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The contractor will
provide support
including technical
support, outreach

. ICF
68HERH23F0127 | SUPPort, Project INCORPORATED, $1,530,202 | $648,475
management support, LLc
and support for virtual —
and in-person meetings
and events. (same as
68HERH23F0129)
U.S. EPA SMARTWAY
TRANSPORT PARTNERSHIP
MARKETING,
COMMUNICATION &
Contractor will develop OUTREACH SUPPORT FOR
68HERH22F0087 and implement a media GuNey sway SMARTWAY PUBLIC $920,726 $556,004
campaign for SmartWay SERVICE
ANNOUNCEMENTS COR:
JOANN JACKSON-
STEPHENS ALT COR -
PATRICE THORNTON
This task order will
provide a range of
Environmental
Collaboration and
Conflict Resolution
(ECCR) services
including facilitation,
coaching, strategic
planning, database
management and
support, and evaluation
services to the Conflict
Prevention and EASTERN ECCRS CONTRACT
Resolution Center MANAGEMENT & SUPPORT
68HERC24F 0393 (CPRC) in support of Ceo INC JUST-IN-TIME SERVICES $419,263 $85,515

work performed under
subject contract. The
outcome of these
services is specified in
the tasks below or in
technical direction issued
for each project. Services
for most tasks will occur
in Headquarters unless
otherwise specified. The
task order is funded by
the Office of
Environmental Justice

TASK ORDER 01

EPA_00040784
2:25-Cv-02152-RMG

Date Filed 04/21/25

and External Civil Rights
(OEJECR).

Entry Number 109-2

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68HERH22F0113

Contractor will develop
videos/films for
communicating the value
prop of SmartWay

THE CAUSEWAY
AGENCY LLC

U.S. EPA SMARTWAY
TRANSPORT PARTNERSHIP
MARKETING,
COMMUNICATION &
OUTREACH SUPPORT -
SMARTWAY FILM AND
VIDEO PRODUCTION COR
JOANN JACKSON-
STEPHENS

$428,333

$196,314

68HE0324F0042

The purpose of this Task
Order is to describe the
tasks related to
delivering Technical
Assistance (TA) to
Eligible Entities related
to Eligible Activities
under the Environmental
and Climate Justice
Grant (ECJ)

Program. TA includes
but is not limited to
project planning
assistance to Eligible
Entities for pre-award
and general activities
related to the ECJ
Program as

appropriate. In addition,
under this Task Order,
services and support may
be provided to EPA to
carry out the ECJ
Program. Administrative
support and services to
be provided to EPA
generally includes pre-
award support to
carrying out the ECJ
Program

GMG
MANAGEMENT
CONSULTING
INC.

THE CONTRACTOR WILL
PROVIDE SUPPORT IN
MANAGING PRE-AWARD
ACTIVITIES FOR EJ
GRANTS.

$75,021

$75,021

Ceiling -
Obligation
(Savings)

Funding Office
Name

Award
Date

Period of
performance
end date

EPA_00040785
2:25-Cv-02152-RMG

$8,147,745

OFC FOR
AIR RAD (OAR)
(FUNDING)

Date Filed 04/21/25

7/15/2024

4/23/2025

$1,143,235

OFC FOR
AIR RAD (OAR)
(FUNDING)

12/20/2024

10/9/2025

$1,116,075

OFFICE OF
ENVIRONMENTAL
JUSTICE AND
EXTERNAL CIVIL
RIGHTS
(OEJECR)

1/18/2025

5/27/2029

$889,605

OFC FOR
AIR RAD (OAR)
(FUNDING)

#N/A

#N/A

$881,727

12/6/2024

9/15/2025

$364,723

OFC FOR
AIR RAD (OAR)
(FUNDING)

11/4/2024

1/2/2026

Entry Number 109-2

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EPA_00040786
2:25-Cv-02152-RMG

$333,747

OFFICE OF
ENVIRONMENTAL
JUSTICE AND
EXTERNAL CIVIL
RIGHTS
(OEJECR)

Date Filed 04/21/25

6/7/2024

6/6/2025

Entry Number 109-2

$232,019

OFC FOR
AIR RAD (OAR)
(FUNDING)

11/15/2024

1/31/2026

$0

REGION 3
(FUNDING
OFFICE)

2/20/2025

6/5/2025

Thanks,
Erica

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EPA_00040787
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 30 of 121

Message

From: Jehling, Erica [Jehling.Erica@epa.gov]

Sent: 3/7/2025 5:28:21 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]
Subject: Grant notes from 3.7.25

Attachments: CFDA_CGER_Process.xlsx

Hi Dan,

Attached is the updated CFDA_CGER spreadsheet. In column G I added the updated notes from today for both sets that
we reviewed.

Per Travis, can you please add a column that shows the total appropriated budget for each program to recalc the savings?

Thanks,
Erica

EPA_00040788
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 31 of 121

This document is produced in native format.

Original file name:

CFDA_CGER_Process.xlsx

EPA_00040789 - EPA_00040800
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 32 of 121

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/7/2025 7:20:50 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-07

Attachments: Contract_Terminations_withAmounts_2025-03-07.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-07, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00040801
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 33 of 121

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-03-07.xIsx

EPA_00040802 - EPA_00040821
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 34 of 121

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/7/2025 9:01:14 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00040822
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 35 of 121

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00040823 - EPA_00040894
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 36 of 121

Message

From: Jehling, Erica [Jehling.Erica@epa.gov]

Sent: 3/7/2025 9:44:42 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]
cc: Loving, Kathryn [Loving.Kathryn@epa.gov]
Subject: RE: Contracts to Terminate for Convenience

Can they just modify as recommended rather than holding on doing anything? I do appreciate the guidance and reduction
in scope on the 1* one while still saving significant tax payer $$.

There isn’t a reason for holding on this one : 6BBHERH23F0127 Reviewed previously by Abbie Tardif and set as
“pending policy direction’ not

It’s not clear what the proposed modification is on GBBHERH24F0213 Reviewed previously by Abbie Tardif
and set for “modification” not termination.

Thanks,

Erica

From: Coogan, Daniel <Coogan.Daniel@epa.gov>
Sent: Friday, March 7, 2025 4:41 PM

To: Jehling, Erica <Jehling.Erica@ epa.gov>

Subject: FW: Contracts to Terminate for Convenience

FYI, OAR is going to push back on a few of these. Do you want me to ask my team to hold on terminating?

From: Marusiak, Eleanor <Marusiak.Eleanor@epa.gov>

Sent: Friday, March 7, 2025 4:31 PM

To: Coogan, Daniel <Coogan.Daniel@epa.gov>

Cc: Hyde, Courtney <Hyde.Courtney@epa.gov>; Shaw, Betsy <Shaw.Betsy@epa.gov>
Subject: RE: Contracts to Terminate for Convenience

Hi Dan,

We will likely need your help on this list of terminations highlighted below. Betsy has this in front of our political folks
right now, but not sure when we get a response.

Short List of OAR Contracts on termination list below

1. 68HERH23F0165 NEW Our recommendation is to modify this contract because there are
significant critical services including emergency response (covered by the Agency’s overall statutory
authorities) to natural disasters --including wildfires, flooding, loss of power, hurricanes etc ---and helping get
word out on dangers to public health from these events such as threats to citizens with asthma or other chronic
breathing conditions. Radon services are also critical since this is the second leading cause of lung cancer in
the country. (Radon Abatement Act) We can continue these critical services with a reduced amount of $4.7M
(down from $8.2M) and were already in the process of modifying this contract based on the priorities of the
new Administrator.

2. 68HERH24F0213 Reviewed previously by Abbie Tardif and set for “modification” not termination.

3. 68HERH24F0193 Reviewed previously by Abbie Tardif and slated for termination.

EPA_00040895
2:25-Cv-02152-RMG
4. 68HERH23F0127

termination.

Date Filed 04/21/25

Entry Number 109-2

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Reviewed previously by Abbie Tardif and set as “pending policy direction’ not

5. 68HERH22F0087 and 6BHERH22F0113 NEW Our recommendation is termination for convenience.

Thanks for your assistance, we can send official word when it arrives, but meanwhile we appreciate your help.

Eleanor

From: Coogan, Daniel <Coogan.Daniel@epa.gov>
Sent: Friday, March 7, 2025 1:25 PM
To: Shaw, Betsy <Shaw.Betsy@epa.gov>; Hyde, Courtney <Hyde.Courtney@epa.gov>; Segovia, Theresa
<Segovia. heresa@epa.gov>; Park, Susan <Park.Susan@epa.gov>; McManus, Catharine

<mcmanus.catharine@epa.gov>; White, Lisa <WHITE.LISA@EPA.GOV>

Subject: Contracts to Terminate for Convenience

All, a head’s up that leadership provided direction to terminate the following contracts, some of which support your
programs. We will be issuing the terminations today.

Notes from EAS RECIPIENT Ceiling Obligation
PID description NAME DESCRIPTION Amount Amount
Communications /
engagement / film
making / graphic design ORIA/IED
for the following COMMUNICATIONS,
programs: Asthma ENGAGEMENT AND
Program, Emergency GENERAL PROGRAM
Preparedness, Response, SUPPORT CALL ORDER
and Recover Program, WILL SUPPORT GENERAL
Healthy Indoor SCIENTIFIC COMMUNICATIONS AND
68HERH23F0165 | Environments in Schools | CONSULTING OUTREACH FOR THE $10,414,457 | $2,266,712
Initiative, Household GROUP INC ASTHMA PROGRAM,
Energy and Clean INCLUDING SENDING
Cooking Initiative, EMAIL CAMPAIGNS AND
Indoor airPLUS, Radon MAINTAINING CONTACT
Program, IAQ Science LISTS, PROMOTING
Program, Secondhand ASTHMA AWARENESS
Smoke Program, MONTH A
Radiation Protectoin
Division.
The overall goal of this
task order is to improve
the technical and CAPACITY-BUILDING TO
institutional capacity of SUPPORT DEVELOPING
developing countries in COUNTRY REPORTING
order for them to ICF UNDER THE PARIS
68HERH24F0213 | develop and report high- | INCORPORATED, | AGREEMENT. PERIOD OF $2,368,235 | $1,225,000
quality BTRs to meet L.L.c. PERFORMANCE 4/10/2024
Paris Agreement THROUGH 4/9/2025. COR
reporting requirements KEYLE HORTON
on a sustainable, timely HORTON. KEYLE@EPA.GOV
basis. These high-quality
BTRs will include the

EPA_00040896

2:25-Cv-02152-RMG

following key elements:
1) compiling GHG
Inventories, specifically
for the Agriculture,
Forestry, and Other Land
Use (AFOLV) sectors, 2)
tracking progress
towards

meeting their NDCs, 3)
developing GHG
emissions and removals
projections, and 4)
tracking the
implementation of
policies and measures
and their GHG emission
reduction impacts.

Date Filed 04/21/25

Entry Number 109-2

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68HERH24F0350

The purpose of this task
order is to provide
EPA’s CPRC with
assistance in offering
ECCR-related training to
EPA staff and managers
to prevent difficult issues
and controversies that
may arise in their work,
where possible, and to
constructively discuss,
address or resolve them
when they do occur (per
EPA’s Policy on
Alternative Dispute
Resolution, Federal
Register, volume 65,
issue 249, 12/27/00).

EASTERN
RESEARCH
GROUP INC

CONFLICT PREVENTION
AND RESOLUTION CENTER
TRAINING JUST-IN-TIME
SERVICES

$1,256,075

$140,000

68HERH24F0193

The EPA will work with
other U.S. agencies and
organizations to provide
technical assistance to
developing countries to:
« Improve capacity to
better estimate GHG
emissions and sinks for
the Energy, Industrial
Product and Product Use
(IPPU), and Waste
sectors, including
through development
and use of estimation
tools

¢ This technical
assistance will help
developing countries
build their capacity to
meet Paris Agreement
reporting requirements.
Work under this task
order will involve
providing direct bilateral
technical assistance for
up to 20 authorized
developing countries (or

EASTERN
RESEARCH
GROUP INC

ENERGY, IPPU AND WASTE
SECTOR CAPACITY-
BUILDING TO SUPPORT
DEVELOPING COUNTRY
GHG INVENTORY
REPORTING UNDER THE
PARIS AGREEMENT COR:
KEYLE HORTON ALT COR:
JOHN STELLER

$1,586,296

$696,691

EPA_00040897
2:25-Cv-02152-RMG

more if regional
approaches are proposed
as the preferred
implementation
mechanism).

Date Filed 04/21/25

Entry Number 109-2

Page 39 of 121

The contractor will
provide support
including technical
support, outreach

. ICF
68HERH23F0127 | SUPPort, Project INCORPORATED, $1,530,202 | $648,475
management support, LLc
and support for virtual —
and in-person meetings
and events. (same as
68HERH23F0129)
U.S. EPA SMARTWAY
TRANSPORT PARTNERSHIP
MARKETING,
COMMUNICATION &
Contractor will develop OUTREACH SUPPORT FOR
68HERH22F0087 and implement a media GuNey sway SMARTWAY PUBLIC $920,726 $556,004
campaign for SmartWay SERVICE
ANNOUNCEMENTS COR:
JOANN JACKSON-
STEPHENS ALT COR -
PATRICE THORNTON
This task order will
provide a range of
Environmental
Collaboration and
Conflict Resolution
(ECCR) services
including facilitation,
coaching, strategic
planning, database
management and
support, and evaluation
services to the Conflict
Prevention and EASTERN ECCRS CONTRACT
Resolution Center MANAGEMENT & SUPPORT
68HERC24F 0393 (CPRC) in support of Ceo INC JUST-IN-TIME SERVICES $419,263 $85,515

work performed under
subject contract. The
outcome of these
services is specified in
the tasks below or in
technical direction issued
for each project. Services
for most tasks will occur
in Headquarters unless
otherwise specified. The
task order is funded by
the Office of
Environmental Justice

TASK ORDER 01

EPA_00040898
2:25-Cv-02152-RMG

and External Civil Rights
(OEJECR).

Date Filed 04/21/25

Entry Number 109-2

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68HERH22F0113

Contractor will develop
videos/films for
communicating the value
prop of SmartWay

THE CAUSEWAY
AGENCY LLC

U.S. EPA SMARTWAY
TRANSPORT PARTNERSHIP
MARKETING,
COMMUNICATION &
OUTREACH SUPPORT -
SMARTWAY FILM AND
VIDEO PRODUCTION COR
JOANN JACKSON-
STEPHENS

$428,333

$196,314

68HE0324F0042

The purpose of this Task
Order is to describe the
tasks related to
delivering Technical
Assistance (TA) to
Eligible Entities related
to Eligible Activities
under the Environmental
and Climate Justice
Grant (ECJ)

Program. TA includes
but is not limited to
project planning
assistance to Eligible
Entities for pre-award
and general activities
related to the ECJ
Program as

appropriate. In addition,
under this Task Order,
services and support may
be provided to EPA to
carry out the ECJ
Program. Administrative
support and services to
be provided to EPA
generally includes pre-
award support to
carrying out the ECJ
Program

GMG
MANAGEMENT
CONSULTING
INC.

THE CONTRACTOR WILL
PROVIDE SUPPORT IN
MANAGING PRE-AWARD
ACTIVITIES FOR EJ
GRANTS.

$75,021

$75,021

Ceiling -
Obligation
(Savings)

Funding Office
Name

Award
Date

Period of
performance
end date

EPA_00040899
2:25-Cv-02152-RMG

$8,147,745

OFC FOR
AIR RAD (OAR)
(FUNDING)

Date Filed 04/21/25

7/15/2024

4/23/2025

$1,143,235

OFC FOR
AIR RAD (OAR)
(FUNDING)

12/20/2024

10/9/2025

$1,116,075

OFFICE OF
ENVIRONMENTAL
JUSTICE AND
EXTERNAL CIVIL
RIGHTS
(OEJECR)

1/18/2025

5/27/2029

$889,605

OFC FOR
AIR RAD (OAR)
(FUNDING)

#N/A

#N/A

$881,727

12/6/2024

9/15/2025

$364,723

OFC FOR
AIR RAD (OAR)
(FUNDING)

11/4/2024

1/2/2026

Entry Number 109-2

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EPA_00040900
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 42 of 121

OFFICE OF
ENVIRONMENTAL
JUSTICE AND
$333,747 EXTERNAL CIVIL 6/7/2024 6/6/2025
RIGHTS

(OEJECR)

OFC FOR
$232,019 | AIR RAD (OAR) 11/15/2024 | 1/31/2026
(FUNDING)

REGION 3
$0 (FUNDING 2/20/2025 | 6/5/2025
OFFICE)

EPA_00040901
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 43 of 121

Message

From: Coogan, Daniel [Coogan.Daniel@epa.gov]

Sent: 3/7/2025 9:52:56 PM

To: Jehling, Erica [Jehling.Erica@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]
Subject: RE: Contracts to Terminate for Convenience

Got it—we’ll move forward with this approach.

From: Jehling, Erica <Jehling.Erica@ epa.gov>

Sent: Friday, March 7, 2025 4:52 PM

To: Coogan, Daniel <Coogan.Daniel@epa.gov>; Loving, Kathryn <Loving.Kathryn@epa.gov>
Subject: RE: Contracts to Terminate for Convenience

Yes!

From: Coogan, Daniel <Coogan.Daniel@epa.gov>

Sent: Friday, March 7, 2025 4:51 PM

To: Jehling, Erica <Jehling.Erica@epa.gov>; Loving, Kathryn <Loving.Kathryn@epa.gov>
Subject: FW: Contracts to Terminate for Convenience

I think this is a reasonable compromise. Fair?

From: Marusiak, Eleanor <Marusiak.Eleanor@epa.gov>

Sent: Friday, March 7, 2025 4:49 PM

To: Coogan, Daniel <Coogan.Daniel@epa.gov>

Cc: Hyde, Courtney <Hyde.Courtney@epa.gov>; Shaw, Betsy <Shaw.Betsy@epa.gov>; Tardif, Abigale (Abbie)
<Tardif.Abigale@epa.gov>; Dominguez, Alexander <dominguez.alexander@epa.gov>

Subject: RE: Contracts to Terminate for Convenience

Dan,

Thanks for your patience. We have direction from the political team. We would like to modify the contract

68HERH23F0165 (number 1) and you can see our justification below. Those highlighted in blue can now be

terminated for convenience.
Please let me know if there are any questions.
Eleanor

Eleanor Marusiak

Deputy Director

Office of Program Management Operations
Office of Air and Radiation, USEPA
Contact me on Teams!

From: Marusiak, Eleanor

Sent: Friday, March 7, 2025 4:31 PM

To: Coogan, Daniel <Coogan.Daniel@epa.gov>

Cc: Hyde, Courtney <Hyde.Courtney@epa.gov>; Shaw, Betsy <Shaw.Betsy@epa.gov>
Subject: RE: Contracts to Terminate for Convenience

EPA_00040902
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 44 of 121
Hi Dan,

We will likely need your help on this list of terminations highlighted below. Betsy has this in front of our political folks
right now, but not sure when we get a response.

Short List of OAR Contracts on termination list below

1. 68HERH23F0165 NEW Our recommendation is to modify this contract because there are
significant critical services including emergency response (covered by the Agency’s overall statutory
authorities) to natural disasters --including wildfires, flooding, loss of power, hurricanes etc ---and helping get
word out on dangers to public health from these events such as threats to citizens with asthma or other chronic
breathing conditions. Radon services are also critical since this is the second leading cause of lung cancer in
the country. (Radon Abatement Act) We can continue these critical services with a reduced amount of $4.7M
(down from $8.2M) and were already in the process of modifying this contract based on the priorities of the
new Administrator.

2. 68HERH24F0213 Reviewed previously by Abbie Tardif and set for “modification” not termination.
3. 68HERH24F0193 Reviewed previously by Abbie Tardif and slated for termination.

4. 68HERH23F0127 Reviewed previously by Abbie Tardif and set as “pending policy direction’ not
termination.

3. 68HERH22F0087 and 68HERH22F0113 NEW Our recommendation is termination for convenience.
Thanks for your assistance, we can send official word when it arrives, but meanwhile we appreciate your help.

Eleanor

From: Coogan, Daniel <Coogan.Daniel@epa.gov>

Sent: Friday, March 7, 2025 1:25 PM

To: Shaw, Betsy <Shaw.Betsy@epa.gov>; Hyde, Courtney <Hyde.Courtney@epa.gov>; Segovia, Theresa
<Segovia. Theresa@epa.gov>; Park, Susan <Park.Susan@epa.gov>; McManus, Catharine
<mcmanus.catharine@epa.gov>; White, Lisa <WHITE.LISA@EPA.GOV>

Subject: Contracts to Terminate for Convenience

All, a head’s up that leadership provided direction to terminate the following contracts, some of which support your
programs. We will be issuing the terminations today.

Notes from EAS RECIPIENT Ceiling Obligation
PID description NAME DESCRIPTION Amount Amount

EPA_00040903
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 45 of 121

Communications /
engagement / film

making / graphic design ORIA/IED
for the following COMMUNICATIONS,
programs: Asthma ENGAGEMENT AND
Program, Emergency GENERAL PROGRAM
Preparedness, Response, SUPPORT CALL ORDER
and Recover Program, WILL SUPPORT GENERAL
Healthy Indoor SCIENTIFIC COMMUNICATIONS AND
68HERH23F0165 | Environments in Schools | CONSULTING OUTREACH FOR THE $10,414,457 | $2,266,712
Initiative, Household GROUP INC ASTHMA PROGRAM,
Energy and Clean INCLUDING SENDING
Cooking Initiative, EMAIL CAMPAIGNS AND
Indoor airPLUS, Radon MAINTAINING CONTACT
Program, IAQ Science LISTS, PROMOTING
Program, Secondhand ASTHMA AWARENESS
Smoke Program, MONTH A
Radiation Protectoin
Division.
The overall goal of this

task order is to improve
the technical and
institutional capacity of
developing countries in
order for them to
develop and report high-
quality BTRs to meet
Paris Agreement
reporting requirements
on a sustainable, timely
basis. These high-quality
BTRs will include the
following key elements:
1) compiling GHG
Inventories, specifically
for the Agriculture,
Forestry, and Other Land
Use (AFOLV) sectors, 2)
tracking progress
towards

meeting their NDCs, 3)
developing GHG
emissions and removals
projections, and 4)
tracking the
implementation of
policies and measures
and their GHG emission
reduction impacts.

CAPACITY-BUILDING TO
SUPPORT DEVELOPING
COUNTRY REPORTING
ICF UNDER THE PARIS
INCORPORATED, | AGREEMENT. PERIOD OF $2,368,235 | $1,225,000
L.L.C. PERFORMANCE 4/10/2024
THROUGH 4/9/2025. COR
KEYLE HORTON
HORTON.KEYLE@EPA.GOV

68HERH24F0213

The purpose of this task
order is to provide
EPA’s CPRC with
assistance in offering

ECCR-related training to CONFLICT PREVENTION

EPA staff and managers | EASTERN
68HERH24F0350 | to prevent difficult issues | RESEARCH AND RESOLUTION CENTER $1,256,075 $140,000

and controversies that GROUP INC q ING JUST-IN-TIME
oe : SERVICES

may arise in their work,

where possible, and to

constructively discuss,

address or resolve them

when they do occur (per

EPA_00040904
2:25-Cv-02152-RMG

EPA’s Policy on
Alternative Dispute
Resolution, Federal
Register, volume 65,
issue 249, 12/27/00).

Date Filed 04/21/25

Entry Number 109-2

Page 46 of 121

The EPA will work with
other U.S. agencies and
organizations to provide
technical assistance to
developing countries to:
« Improve capacity to
better estimate GHG
emissions and sinks for
the Energy, Industrial
Product and Product Use
(IPPU), and Waste
sectors, including

ENERGY, IPPU AND WASTE

throu
gn teem SECTOR CAPACITY.
tools BUILDING TO SUPPORT
sTatoneahated EASTERN DEVELOPING COUNTRY
68HERH24F0193 agsistanae will hele RESEARCH GHG INVENTORY $1,586,296 | $696,691
develaningecmnsies GROUP INC REPORTING UNDER THE
build their capacity to PoHIS SSREEMENT COR
ment Haris Aareement KEYLE HORTON ALT COR:
: : JOHN STELLER
reporting requirements.
Work under this task
order will involve
providing direct bilateral
technical assistance for
up to 20 authorized
developing countries (or
more if regional
approaches are proposed.
as the preferred
implementation
mechanism).
The contractor will
provide support
including technical
support, outreach ICF
68HERH23F0127 | SUPPort, Project INCORPORATED, $1,530,202 | $648,475
management support, LLc
and support for virtual —
and in-person meetings
and events. (same as
68HERH23F0129)
U.S. EPA SMARTWAY
TRANSPORT PARTNERSHIP
MARKETING,
COMMUNICATION &
Contractor will develop OUTREACH SUPPORT FOR
68HERH22F0087 and implement a media vGuNey sway SMARTWAY PUBLIC $920,726 $556,004
campaign for SmartWay SERVICE
ANNOUNCEMENTS COR:
JOANN JACKSON-
STEPHENS ALT COR -
PATRICE THORNTON

EPA_00040905
2:25-Cv-02152-RMG

This task order will
provide a range of
Environmental
Collaboration and
Conflict Resolution
(ECCR) services
including facilitation,
coaching, strategic
planning, database
management and
support, and evaluation
services to the Conflict
Prevention and
Resolution Center

Date Filed 04/21/25

Entry Number 109-2

ECCRS CONTRACT

Page 47 of 121

: EASTERN
6BHERC24F0393 | (CPRO in support of RESEARCH MANAGEMENT & BUPFORI'| gaio363 | §85,515
work performed under GROUP INC JUST-IN-TIME SERVICES
subject contract. The TASK ORDER 01
outcome of these
services 1s specified in
the tasks below or in
technical direction issued
for each project. Services
for most tasks will occur
in Headquarters unless
otherwise specified. The
task order is funded by
the Office of
Environmental Justice
and External Civil Rights
(OEJECR).
U.S. EPA SMARTWAY
TRANSPORT PARTNERSHIP
Contractor will develop MARKETING,
videos/films for THE CAUSEWAY COMBIDINIGNTION &
68HERH22F0113 communicating thermdiue | AGEWOY LLG OUTREACH SUPPORT - $428,333 $196,314
prop ef SmarkFeys SMARTWAY FILM AND
VIDEO PRODUCTION COR
JOANN JACKSON-
STEPHENS
The purpose of this Task
Order is to describe the
tasks related to
delivering Technical
Assistance (TA) to
Eligible Entities related
to Eligible Activities
under the Environmental
and Climate Justice
Grant (ECJ) GMG THE CONTRACTOR WILL
Program. TA includes MANAGEMENT PROVIDE SUPPORT IN
68HE0324F0042 | but is not limited to CONSULTING MANAGING PRE-AWARD $75,021 $75,021
project planning INC ACTIVITIES FOR EJ
assistance to Eligible , GRANTS.

Entities for pre-award
and general activities
related to the ECJ
Program as

appropriate. In addition,
under this Task Order,
services and support may
be provided to EPA to
carry out the ECJ

EPA_00040906
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 48 of 121

Program. Administrative
support and services to
be provided to EPA
generally includes pre-
award support to
carrying out the ECJ
Program

Ceiling - . Period of
Obligation Funding Omg Amar performance

(Savings) Rane Date end date

OFC FOR
$8,147,745 | AIR RAD(OAR) _ | 7/15/2024 | 4/23/2025
(FUNDING)

OFC FOR
$1,143,235 | AIR RAD (OAR) 12/20/2024 | 10/9/2025
(FUNDING)

OFFICE OF
ENVIRONMENTAL
JUSTICE AND
$1,116,075 EXTERNAL CIVIL 1/18/2025 | 5/27/2029
RIGHTS

(OEJECR)

EPA_00040907
2:25-Cv-02152-RMG

$889,605

OFC FOR
AIR RAD (OAR)
(FUNDING)

Date Filed 04/21/25

#N/A

#N/A

$881,727

12/6/2024

9/15/2025

$364,723

OFC FOR
AIR RAD (OAR)
(FUNDING)

11/4/2024

1/2/2026

$333,747

OFFICE OF
ENVIRONMENTAL
JUSTICE AND
EXTERNAL CIVIL
RIGHTS
(OEJECR)

6/7/2024

6/6/2025

$232,019

OFC FOR
AIR RAD (OAR)
(FUNDING)

11/15/2024

1/31/2026

$0

REGION 3
(FUNDING
OFFICE)

2/20/2025

6/5/2025

Entry Number 109-2

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EPA_00040908
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 50 of 121

Message

From: Coogan, Daniel [Coogan.Daniel@epa.gov]

Sent: 3/7/2025 10:01:46 PM

To: Jehling, Erica [Jehling.Erica@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]
Subject: Daily Summary Report of Grant Terminations as of 03/07/2025

Attachments: Grant Termination List.xlsx; Grant Terminations Report 2025.03.07.pdf

$202 million

EPA_00040909
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 51 of 121

This document is produced in native format.

Original file name:

Grant Termination List.xlsx

EPA_00040910 - EPA_00040921
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 52 of 121

Grant Termination Summary Report
Data compiled as of 03/07/2025

No. of Grants Compass No. of Grants Not Amount Not Yet

Awarded and AmountAwarded Remaining Amount Yet Awarded and Awarded and
Region/HQ Cancelled and Cancelled (Estimate) Cancelled Cancelled
RO1 1 $500,000 $331,894 0 $0
RO2 0 $0 $0 0 $0
RO3 4 $21,000,000 $14,304,280 0 $0
RO4 2 $11,500,000 $8,947,408 0 $0
RO5 3 $20,000,000 $14,386,079 0 $0
ROG 2 $1,000,000 $643,182 0 $0
RO7 1 $8,000,000 $6,150,076 0 $0
ROS 1 $7,000,000 $6,430,046 0 $0
ROO 4 $9,600,000 $7,769,459 0 $0
R10 2 $8,500,000 $6,883,089 0 $0
HQ 4 $9,499,413 $6,743,841 25 $129,617,409
Total 24 $96,599,413 $72,589,353 25 $129,617,409

Total Amount Awarded and Cancelled by Region (%)

mRO1
mRO2
wRO3
mRO4
wROS
m ROG
wRO7
wRO8
wROS9
mR10
HQ

EPA_00040922

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 53 of 121

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/8/2025 7:01:52 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-08

Attachments: Contract_Terminations_withAmounts_2025-03-08.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-08, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00040923
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 54 of 121

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-03-08.xIsx

EPA_00040924 - EPA_00040943
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 55 of 121

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/8/2025 9:00:57 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00040944
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 56 of 121

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00040945 - EPA_00041016
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 57 of 121

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/17/2025 6:01:52 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-17

Attachments: Contract_Terminations_withAmounts_2025-03-17.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-17, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00041017
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 58 of 121

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-03-17.xIsx

EPA_00041018 - EPA_00041037
2:25-Cv-02152-RMG

Date Filed 04/21/25

Entry Number 109-2

Page 59 of 121

Message

From: Jehling, Erica [Jehling.Erica@epa.gov]

Sent: 3/9/2025 3:23:15 AM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]
Subject: RE: Contracts to Terminate for Convenience

Hi Dan,

I just realized that we missed 2 OEJECR contracts. They were not on the Qlik dashboard, but were on my original

contract review sheet.

Can we add these to the list below?

PIID

Notes from
EAS
description

RECIPIENT_NAME

DESCRIPTION

Ceiling
Amount

Obligation
Amount

Ceiling -
Obligation
(Savings)

68HERH24F0289

General mission
support for
OEJECR.
Support includes:
1. Develop
comprehensive
external
communication
approaches

2. Provide
recommendations
to provide access
and engagement
for persons with
disabilities

3. Develop a
reporting system
to collect data on
Justice40, the EJ
Scorecard, and
other EJECR
reporting asks
across the
agency.

DELOITTE
CONSULTING LLP

OEJECR
STRATEGIC
ORGANIZATIONAL
TRANSFORMATION
MISSION SUPPORT
(SOTMS).

$6,524,618

$3,262,309

$3,262,309

68HERH24F0414

The purpose of
this task order is
to provide the
OEJECR and our
regional teams
with assistance in
implementing
consultation,
collaboration,
public
engagement,
dispute
prevention,
dispute
resolution
activities so that
difficult issues
and controversies

EASTERN
RESEARCH
GROUP INC

NEW TASK ORDER
ON CONTRACT
68HERC24D0006,
ENTITLED OEJECR
EJ COMMUNITY
ENGAGEMENT
GENERAL
SUPPORT.

$1,195,955

$1,175,000

$20,955

EPA_00041038
2:25-Cv-02152-RMG

can be avoided,
where possible,
and
constructively
discussed,
addressed, or
resolved when
they do occur.
This assistance
can take a variety
of forms
including, but not
limited to,
providing
conflict
resolution advice
and just-in-time
coaching,
facilitating
meetings and
group processes,
analyzing, and
mediating
disputes, and
designing and
implementing
collaborative
efforts such as
consensus
building and
multiparty
decision making.

Date Filed 04/21/25

Entry Number 109-2

Page 60 of 121

Funding Office
Name

OFFICE OF
ENVIRONMENTAL
JUSTICE AND
EXTERNAL CIVIL
RIGHTS (OEJECR)

OFFICE OF
ENVIRONMENTAL
JUSTICE AND
EXTERNAL CIVIL
RIGHTS
(OEJECR)

Thanks,
Erica

EPA_00041039

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 61 of 121

From: Jehling, Erica

Sent: Friday, March 7, 2025 4:52 PM

To: Coogan, Daniel <Coogan.Daniel@epa.gov>; Loving, Kathryn <Loving.Kathryn@epa.gov>
Subject: RE: Contracts to Terminate for Convenience

Yes!

From: Coogan, Daniel <Coogan.Daniel@epa.gov>

Sent: Friday, March 7, 2025 4:51 PM

To: Jehling, Erica <Jehling.Erica@epa.gov>; Loving, Kathryn <Loving.Kathryn@epa.gov>
Subject: FW: Contracts to Terminate for Convenience

I think this is a reasonable compromise. Fair?

From: Marusiak, Eleanor <Marusiak.Eleanor@epa.gov>

Sent: Friday, March 7, 2025 4:49 PM

To: Coogan, Daniel <Coogan.Daniel@epa.gov>

Cc: Hyde, Courtney <Hyde.Courtney@epa.gov>; Shaw, Betsy <Shaw.Betsy@epa.gov>; Tardif, Abigale (Abbie)
<Tardif.Abigale@epa.gov>; Dominguez, Alexander <dominguez.alexander@epa.gov>

Subject: RE: Contracts to Terminate for Convenience

Dan,

Thanks for your patience. We have direction from the political team. We would like to modify the contract

68HERH23F0165 (number 1) and you can see our justification below. Those highlighted in blue can now be

terminated for convenience.
Please let me know if there are any questions.
Eleanor

Eleanor Marusiak

Deputy Director

Office of Program Management Operations
Office of Air and Radiation, USEPA
Contact me on Teams!

From: Marusiak, Eleanor

Sent: Friday, March 7, 2025 4:31 PM

To: Coogan, Daniel <Coogan.Daniel@epa.gov>

Ce: Hyde, Courtney <Hyde.Courtney@epa.gov>; Shaw, Betsy <Shaw.Betsy@epa.gov>
Subject: RE: Contracts to Terminate for Convenience

Hi Dan,

We will likely need your help on this list of terminations highlighted below. Betsy has this in front of our political folks

right now, but not sure when we get a response.

Short List of OAR Contracts on termination list below

EPA_00041040
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 62 of 121

1. 68HERH23F0165 NEW Our recommendation is to modify this contract because there are
significant critical services including emergency response (covered by the Agency’s overall statutory
authorities) to natural disasters --including wildfires, flooding, loss of power, hurricanes etc ---and helping get
word out on dangers to public health from these events such as threats to citizens with asthma or other chronic
breathing conditions. Radon services are also critical since this is the second leading cause of lung cancer in
the country. (Radon Abatement Act) We can continue these critical services with a reduced amount of $4.7M
(down from $8.2M) and were already in the process of modifying this contract based on the priorities of the
new Administrator.

2. 68HERH24F0213 Reviewed previously by Abbie Tardif and set for “modification” not termination.

3. 68HERH24F0193 Reviewed previously by Abbie Tardif and slated for termination.

4. 68HERH23F0127
termination.

Reviewed previously by Abbie Tardif and set as “pending policy direction’ not

5. 68HERH22F0087 and 68HERH22F0113 NEW Our recommendation is termination for convenience.

Thanks for your assistance, we can send official word when it arrives, but meanwhile we appreciate your help.

Eleanor

From: Coogan, Daniel <Coogan.Daniel@epa.gov>
Sent: Friday, March 7, 2025 1:25 PM
To: Shaw, Betsy <Shaw.Betsy@epa.gov>; Hyde, Courtney <Hyde.Courtney@epa.gov>; Segovia, Theresa

<Segovia. Theresa@epa.gov>; Park, Susan <Park.Susan@epa.gov>; McManus, Catharine

<mcmanus.catharine@epa.gov>; White, Lisa <WHITE.LISA@EPA.GOV>

Subject: Contracts to Terminate for Convenience

All, a head’s up that leadership provided direction to terminate the following contracts, some of which support your
programs. We will be issuing the terminations today.

Notes from EAS RECIPIENT Ceiling Obligation
PIG description NAME DESCRIPTION Amount Amount

Communications /

engagement / film ORIA/IED

making / graphic design COMMUNICATIONS,

for the following ENGAGEMENT AND

programs: Asthma GENERAL PROGRAM

Program, Emergency SUPPORT CALL ORDER

Preparedness, Response, WILL SUPPORT GENERAL

and Recover Program, SCIENTIFIC COMMUNICATIONS AND
68HERH23F0165 | Healthy Indoor CONSULTING OUTREACH FOR THE $10,414,457 | $2,266,712

Environments in Schools | GROUP INC ASTHMA PROGRAM,

Initiative, Household INCLUDING SENDING

Energy and Clean EMAIL CAMPAIGNS AND

Cooking Initiative, MAINTAINING CONTACT

Indoor airPLUS, Radon LISTS, PROMOTING

Program, IAQ Science ASTHMA AWARENESS

Program, Secondhand MONTH A

Smoke Program,

EPA_00041041
2:25-Cv-02152-RMG

Division.

Radiation Protectoin

Date Filed 04/21/25

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68HERH24F0213

towards

The overall goal of this
task order is to improve
the technical and
institutional capacity of
developing countries in
order for them to
develop and report high-
quality BTRs to meet
Paris Agreement
reporting requirements
on a sustainable, timely
basis. These high-quality
BTRs will include the
following key elements:
1) compiling GHG
Inventories, specifically
for the Agriculture,
Forestry, and Other Land
Use (AFOLV) sectors, 2)
tracking progress

meeting their NDCs, 3)
developing GHG
emissions and removals
projections, and 4)
tracking the
implementation of
policies and measures
and their GHG emission
reduction impacts.

ICF

L.L.C.

INCORPORATED,

CAPACITY-BUILDING TO
SUPPORT DEVELOPING
COUNTRY REPORTING
UNDER THE PARIS
AGREEMENT. PERIOD OF
PERFORMANCE 4/10/2024
THROUGH 4/9/2025. COR
KEYLE HORTON
HORTON.KEYLE@EPA.GOV

$2,368,235

$1,225,000

68HERH24F0350

The purpose of this task
order is to provide
EPA’s CPRC with
assistance in offering
ECCR-related training to
EPA staff and managers
to prevent difficult issues
and controversies that
may arise in their work,
where possible, and to
constructively discuss,
address or resolve them
when they do occur (per
EPA’s Policy on
Alternative Dispute
Resolution, Federal
Register, volume 65,
issue 249, 12/27/00).

EASTERN
RESEARCH
GROUP INC

CONFLICT PREVENTION
AND RESOLUTION CENTER
TRAINING JUST-IN-TIME
SERVICES

$1,256,075

$140,000

EPA_00041042
2:25-Cv-02152-RMG

68HERH24F0193

The EPA will work with
other U.S. agencies and
organizations to provide
technical assistance to
developing countries to:
« Improve capacity to
better estimate GHG
emissions and sinks for
the Energy, Industrial
Product and Product Use
(IPPU), and Waste
sectors, including
through development
and use of estimation
tools

¢ This technical
assistance will help
developing countries
build their capacity to
meet Paris Agreement
reporting requirements.
Work under this task
order will involve
providing direct bilateral
technical assistance for
up to 20 authorized
developing countries (or
more if regional
approaches are proposed
as the preferred
implementation
mechanism).

Date Filed 04/21/25

EASTERN
RESEARCH
GROUP INC

Entry Number 109-2

ENERGY, IPPU AND WASTE
SECTOR CAPACITY-
BUILDING TO SUPPORT
DEVELOPING COUNTRY
GHG INVENTORY
REPORTING UNDER THE
PARIS AGREEMENT COR:
KEYLE HORTON ALT COR:
JOHN STELLER

$1,586,296

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$696,691

68HERH23F0127

The contractor will
provide support
including technical
support, outreach
support, project
management support,
and support for virtual
and in-person meetings
and events. (same as
68HERH23F0129)

ICF
INCORPORATED,
L.L.C.

$1,530,202

$648,475

68HERH22F0087

Contractor will develop
and implement a media
campaign for SmartWay

THE CAUSEWAY
AGENCY LLC

U.S. EPA SMARTWAY
TRANSPORT PARTNERSHIP
MARKETING,
COMMUNICATION &
OUTREACH SUPPORT FOR
SMARTWAY PUBLIC
SERVICE
ANNOUNCEMENTS COR:
JOANN JACKSON-
STEPHENS ALT COR -
PATRICE THORNTON

$920,726

$556,004

EPA_00041043
2:25-Cv-02152-RMG

This task order will
provide a range of
Environmental
Collaboration and
Conflict Resolution
(ECCR) services
including facilitation,
coaching, strategic
planning, database
management and
support, and evaluation
services to the Conflict
Prevention and
Resolution Center

Date Filed 04/21/25

Entry Number 109-2

ECCRS CONTRACT

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: EASTERN
6BHERC24F0393 | (CPRO in support of RESEARCH MANAGEMENT & BUPFORI'| gaio363 | §85,515
work performed under GROUP INC JUST-IN-TIME SERVICES
subject contract. The TASK ORDER 01
outcome of these
services 1s specified in
the tasks below or in
technical direction issued
for each project. Services
for most tasks will occur
in Headquarters unless
otherwise specified. The
task order is funded by
the Office of
Environmental Justice
and External Civil Rights
(OEJECR).
U.S. EPA SMARTWAY
TRANSPORT PARTNERSHIP
Contractor will develop MARKETING,
videos/films for THE CAUSEWAY COMBIDINIGNTION &
68HERH22F0113 communicating thermdiue | AGEWOY LLG OUTREACH SUPPORT - $428,333 $196,314
prop ef SmarkFeys SMARTWAY FILM AND
VIDEO PRODUCTION COR
JOANN JACKSON-
STEPHENS
The purpose of this Task
Order is to describe the
tasks related to
delivering Technical
Assistance (TA) to
Eligible Entities related
to Eligible Activities
under the Environmental
and Climate Justice
Grant (ECJ) GMG THE CONTRACTOR WILL
Program. TA includes MANAGEMENT PROVIDE SUPPORT IN
68HE0324F0042 | but is not limited to CONSULTING MANAGING PRE-AWARD $75,021 $75,021
project planning INC ACTIVITIES FOR EJ
assistance to Eligible , GRANTS.

Entities for pre-award
and general activities
related to the ECJ
Program as

appropriate. In addition,
under this Task Order,
services and support may
be provided to EPA to
carry out the ECJ

EPA_00041044
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 66 of 121

Program. Administrative
support and services to
be provided to EPA
generally includes pre-
award support to
carrying out the ECJ
Program

Ceiling - . Period of
Obligation Funding Omg Amar performance

(Savings) Rane Date end date

OFC FOR
$8,147,745 | AIR RAD(OAR) _ | 7/15/2024 | 4/23/2025
(FUNDING)

OFC FOR
$1,143,235 | AIR RAD (OAR) 12/20/2024 | 10/9/2025
(FUNDING)

OFFICE OF
ENVIRONMENTAL
JUSTICE AND
$1,116,075 EXTERNAL CIVIL 1/18/2025 | 5/27/2029
RIGHTS

(OEJECR)

EPA_00041045
2:25-Cv-02152-RMG

$889,605

OFC FOR
AIR RAD (OAR)
(FUNDING)

Date Filed 04/21/25

#N/A

#N/A

$881,727

12/6/2024

9/15/2025

$364,723

OFC FOR
AIR RAD (OAR)
(FUNDING)

11/4/2024

1/2/2026

$333,747

OFFICE OF
ENVIRONMENTAL
JUSTICE AND
EXTERNAL CIVIL
RIGHTS
(OEJECR)

6/7/2024

6/6/2025

$232,019

OFC FOR
AIR RAD (OAR)
(FUNDING)

11/15/2024

1/31/2026

$0

REGION 3
(FUNDING
OFFICE)

2/20/2025

6/5/2025

Entry Number 109-2

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EPA_00041046
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 68 of 121

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/9/2025 9:26:48 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-09

Attachments: Contract_Terminations_withAmounts_2025-03-09.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-09, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00041047
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 69 of 121

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-03-09.xIsx

EPA_00041048 - EPA_00041067
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 70 of 121

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/9/2025 9:31:22 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00041068
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 71 of 121

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00041069 - EPA_00041134
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 72 of 121

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/19/2025 6:01:07 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-19

Attachments: Contract_Terminations_withAmounts_2025-03-19.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-19, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00041135
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 73 of 121

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-03-19.xIsx

EPA_00041136 - EPA_00041155
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 74 of 121

Executive Order Compliance Review

The following review verification document must be included with any assistance agreement,
contract or interagency (IA) funding action or amendment to a workplan or statement of work.
The document demonstrates that the signatory understands that the action and associated
workplan or performance work statement complies with Executive Order requirements
(detailed here: Presidential Actions — The White House) at the time of signature.

For actions requiring this document, signature must be by the Office Director (OD) in
Headquarters or the Division Director (DD) in the regions. An OD/DD may assign a designee.
Contracting Officers/ Specialists, [A Specialists, and Grants Specialists must retain the signed
document in the contract, IA or grant file.

Funding Action Review Confirmation

This confirms that the workplan, budget or performance work statement does not conflict with
the Executive Orders and aligns with the Administrator’s “Powering the Great American
Comeback” initiative. Funding organizations may batch actions and attach a list of covered
actions, which must include the following details, at a minimum.

Contract/ Grant/ IA #:| |-97373119

Recipient/ Vendor name:| PA Depertment of Environmental Protection

Funding amount $: | 1 ,600,000

Work Description:

This grant agreement provides funding to Pennsylvania Department of Environmental
Protection to fund CWA 106 Water Pollution Control activities to maintain, protect, and
improve the water quality of its rivers, lakes, streams, groundwater, and other waterbodies
through monitoring, permitting, data collection, and implementation. The environmental
benefits of this program include preventing degradation of unimpaired waterbodies and
reducing the number of impaired waterbodies in the state.

Government-wide Acquisition (if yes, check box):

EPA_00041157
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 75 of 121

: Digitally signed by Price-
Price-Fay, Fay, Michelle

. Date: 2025.03.18
Michelle 15:48:25 -04'00'

Program Office Director (or designee)/ Regional Division Director (or designee)

DOGE Team

EPA_00041158
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 76 of 121

Executive Order Compliance Review

The following review verification document must be included with any assistance agreement,
contract or interagency (IA) funding action or amendment to a workplan or statement of work.
The document demonstrates that the signatory understands that the action and associated
workplan or performance work statement complies with Executive Order requirements
(detailed here: Presidential Actions — The White House) at the time of signature.

For actions requiring this document, signature must be by the Office Director (OD) in
Headquarters or the Division Director (DD) in the regions. An OD/DD may assign a designee.
Contracting Officers/ Specialists, [A Specialists, and Grants Specialists must retain the signed
document in the contract, IA or grant file.

Funding Action Review Confirmation

This confirms that the workplan, budget or performance work statement does not conflict with
the Executive Orders and aligns with the Administrator’s “Powering the Great American
Comeback” initiative. Funding organizations may batch actions and attach a list of covered
actions, which must include the following details, at a minimum.

Contract/ Grant/ IA #: 1-983 1 601 5

Recipient/ Vendor name:)| Delaware Department of Natural Resources and Environmental Control (DNREC)

Funding amount S: 538,577

Work Description:

This grant agreement provides funding to Delaware DNREC to fund CWA 106 Water
Pollution Control activities to maintain, protect, and improve the water quality of its rivers,
lakes, streams, groundwater, and other waterbodies through monitoring, permitting, data
collection, and implementation. The environmental benefits of this program include
preventing degradation of unimpaired waterbodies and reducing the number of impaired
waterbodies in the state. This award provides $538,577 of federal funds; $4,011,702 is
contingent upon availability.

Government-wide Acquisition (if yes, check box):

EPA_00041159
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 77 of 121

Digitally signed by
GREGORY GREGORY VOIGT

Date: 2025.03.13
VO | GT 14:59:56 -04'00"

Program Office Director (or designee)/ Regional Division Director (or designee)

DOGE Team

EPA_00041160
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 78 of 121

Executive Order Compliance Review

The following review verification document must be included with any assistance agreement,
contract or interagency (IA) funding action or amendment to a workplan or statement of work.
The document demonstrates that the signatory understands that the action and associated
workplan or performance work statement complies with Executive Order requirements
(detailed here: Presidential Actions — The White House) at the time of signature.

For actions requiring this document, signature must be by the Office Director (OD) in
Headquarters or the Division Director (DD) in the regions. An OD/DD may assign a designee.
Contracting Officers/ Specialists, [A Specialists, and Grants Specialists must retain the signed
document in the contract, IA or grant file.

Funding actions for $50,000 and above, review and signature by a DOGE team member is
required.

Funding Action Review Confirmation

This confirms that the workplan, budget or performance work statement does not conflict with
the Executive Orders and aligns with the Administrator’s “Powering the Great American
Comeback” initiative. Funding organizations may batch actions and attach a list of covered
actions, which must include the following details, at a minimum.

Contract/ Grant/ 1A #:| NEW

Recipient/ Vendor name: Harpy Technologies

Funding amount S$: $21 9 299

Work Description:

The Superfund program is required by section 117 of Cercla and 40 CFR 300.430 to
perform public activities such as seeking public comments, issuing public notices, and
holding public meetings. Community involvement activities under this contract could
include preparation of community involvement plan (CIP), preparation of comprehensive
and chronological site history report, support of public meetings including stenography,
document preparation, venue set-up, translator services, audio/visual support; preparation
and dissemination of Public Notices and fact sheets; and establishing a Site Information
repository.

System Link: PR-R3-25-0021 5

EPA_00041161
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 79 of 121

Government-wide Acquisition (if yes, check box):

Workplan/PWS Attachment (follow these instructions):
e Must use Adobe Pro
e Select "All Tools”
e Select "Edit a PDF"
e Under "Add Content," select "Show More," choose "Attach a file."

Digitally signed by PAUL
PAU L LEONARD

Date: 2025.03.12
LEONARD 12:27:38 -04'00'

Program Office Director (or designee)/ Regional Division Director (or designee)

DOGE Team (if required)

EPA_00041162
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 80 of 121

Executive Order Compliance Review

The following review verification document must be included with any assistance agreement,
contract or interagency (IA) funding action or amendment to a workplan or statement of work.
The document demonstrates that the signatory understands that the action and associated
workplan or performance work statement complies with Executive Order requirements
(detailed here: Presidential Actions — The White House) at the time of signature.

For actions requiring this document, signature must be by the Office Director (OD) in
Headquarters or the Division Director (DD) in the regions. An OD/DD may assign a designee.
Contracting Officers/ Specialists, [A Specialists, and Grants Specialists must retain the signed
document in the contract, IA or grant file.

Funding actions for $50,000 and above, review and signature by a DOGE team member is
required.

Funding Action Review Confirmation

This confirms that the workplan, budget or performance work statement does not conflict with
the Executive Orders and aligns with the Administrator’s “Powering the Great American
Comeback” initiative. Funding organizations may batch actions and attach a list of covered
actions, which must include the following details, at a minimum.

Contract/ Grant/ 1A #: DCN: 2503CA0001

Recipient/ Vendor name: GSA

Funding amount $: | 1 60,000

Work Description:

The Requested funding will be used for the continued support of the EPA Region 3 GSA
fleet. The fleet consists of 56 total vehicles operating in Philadelphia, Fort Meade,
Annapolis, Wheeling and Linwood. Fleet services are used by EPA personnel to support
EPA's statutory authorities work and Administrator's Zeldin "Powering the Great American
Comeback" initiative - Pillar 1: Clean Air, Land and Water for every American. Use of the
GSA fleet saves travel funds and reduces the liability involved in usage or personal
vehicles for official business. In addition, it affords emergency responders immediate
access to vehicles to perform their duties.

System Link:

EPA_00041163
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 81 of 121

Government-wide Acquisition (if yes, check box):

Workplan/PWS Attachment (follow these instructions):
e Must use Adobe Pro
e Select "All Tools”
e Select "Edit a PDF"
e Under "Add Content," select "Show More," choose "Attach a file."

Digitally signed by LISA

LISA WH IT Ee eos Sa

15:13:37 -04'00'
Program Office Director (or designee)/ Regional Division Director (or designee)

DOGE Team (if required)

EPA_00041164
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 82 of 121

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/10/2025 6:01:35 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-10

Attachments: Contract_Terminations_withAmounts_2025-03-10.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-10, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 83 of 121

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-03-10.xIsx

EPA_00041166 - EPA_00041185
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 84 of 121

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/10/2025 7:59:40 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00041186
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 85 of 121

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00041187 - EPA_00041252
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 86 of 121

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/19/2025 8:00:37 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00041253
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 87 of 121

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/11/2025 6:01:43 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-11

Attachments: Contract_Terminations_withAmounts_2025-03-11.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-11, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00041320
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 88 of 121

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-03-11.xIsx

EPA_00041321 - EPA_00041340
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 89 of 121

Message

From: Coogan, Daniel [Coogan.Daniel@epa.gov]

Sent: 3/11/2025 7:25:18 PM

To: Jehling, Erica [Jehling.Erica@epa.gov]

cc: Loving, Kathryn [Loving.Kathryn@epa.gov]

Subject: Daily Summary Report of Grant Terminations as of 03/11/25

Attachments: Grant Terminations Report 2025.03.11.pdf; Grant Termination List.xlsx

Daily report quick summary:

° 25 grants awarded and cancelled
° 25 grants not yet awarded and cancelled
Dan

EPA_00041341
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 90 of 121

Grant Termination Summary Report
Data compiled as of 03/11/2025

No. of Grants Compass No. of Grants Not Amount Not Yet

Awarded and AmountAwarded Remaining Amount Yet Awarded and Awarded and
Region/HQ Cancelled and Cancelled (Estimate) Cancelled Cancelled
RO1 1 $500,000 $331,894 0 $0
RO2 0 $0 $0 0 $0
RO3 4 $21,000,000 $14,304,280 0 $0
RO4 2 $11,500,000 $8,947,408 0 $0
RO5 3 $20,000,000 $14,386,079 0 $0
ROG 2 $1,000,000 $643,182 0 $0
RO7 1 $8,000,000 $6,150,076 0 $0
ROS 1 $7,000,000 $6,430,046 0 $0
ROO 4 $9,600,000 $7,769,459 0 $0
R10 3 $9,377,458 $7,640,031 0 $0
HQ 4 $9,499,413 $6,743,841 25 $129,617,409
Total 25 $97,476,871 $73,346,295 25 $129,617,409

Total Amount Awarded and Cancelled by Region (%)

mRO1
mRO2
wRO3
mRO4
wROS
m ROG
wRO7
wRO8
wROS9
mR10
HQ

EPA_00041342

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 91 of 121

This document is produced in native format.

Original file name:

Grant Termination List.xlsx

EPA_00041343 - EPA_00041354
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 92 of 121

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/11/2025 8:00:25 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00041355
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 93 of 121

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00041356 - EPA_00041421
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 94 of 121

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/12/2025 6:02:27 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-12

Attachments: Contract_Terminations_withAmounts_2025-03-12.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-12, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 95 of 121

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-03-12.xIsx

EPA_00041464 - EPA_00041483
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 96 of 121

Message

From: White, Lisa [WHITE.LISA@EPA.GOV]

Sent: 3/12/2025 6:05:37 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]

Subject: DOGE Review — Region 3 — March 12, 2025

Attachments: 68HE0323A0006.pdf; 68HERC22D0026.pdf; 68HERC23D0011.pdf; F-003311935-0.pdf

Kathryn and Erica,

Good afternoon. Attached are 4 funding actions of $50,000 or more for your review and approval. Below is a
summary of the actions.

Contracts:

e 668HE0323A0006 to Environmental Resources Group for $200,000 (Attachment 1).
° 68HERC22D0026 to Tetra Tech for $196,042 (Attachment 2).

° 8HERC23D0011 to Cadmus for $63,704 (Attachment 3).

Grants and Cooperative Agreements:
e F-00311925-0 to Executive Office of the Governor of Delaware, Department of Health and Social
Services for $450,000 (Attachment 4).

Please contact me with any questions. thanks.lw

Lisa White, Acting Director
Mission Support Division

US EPA

1600 JFK Boulevard

Phila, PA 19103
215-814-2391/white.lisa@epa.gov

EPA_00041484
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 97 of 121

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/12/2025 8:00:32 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00041485
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 98 of 121

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00041486 - EPA_00041557
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 99 of 121

Message

From: Jehling, Erica [Jehling.Erica@epa.gov]

Sent: 3/12/2025 10:25:34 PM

To: White, Lisa [WHITE.LISA@EPA.GOV]; Loving, Kathryn [Loving.Kathryn@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]

Subject: RE: DOGE Review — Region 3 — March 12, 2025

Attachments: F-003311935-0.pdf; 68HE0323A0006.pdf; 68HERC22D0026.pdf; 68HERC23D0011.pdf

See attached thanks

From: White, Lisa <WHITE.LISA@EPA.GOV>

Sent: Wednesday, March 12, 2025 2:06 PM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>; Jehling, Erica <Jehling.Erica@epa.gov>
Cc: Coogan, Daniel <Coogan.Daniel@epa.gov>

Subject: DOGE Review — Region 3 — March 12, 2025

Kathryn and Erica,

Good afternoon. Attached are 4 funding actions of $50,000 or more for your review and approval. Below is a
summary of the actions.

Contracts:

e 668HE0323A0006 to Environmental Resources Group for $200,000 (Attachment 1).
e 68HERC22D0026 to Tetra Tech for $196,042 (Attachment 2).

e 8HERC23D0011 to Cadmus for $63,704 (Attachment 3).

Grants and Cooperative Agreements:
e F-00311925-0 to Executive Office of the Governor of Delaware, Department of Health and Social
Services for $450,000 (Attachment 4).

Please contact me with any questions. thanks.lw

Lisa White, Acting Director
Mission Support Division

US EPA

1600 JFK Boulevard

Phila, PA 19103
215-814-2391/white.lisa@epa.gov

EPA_00041558
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 100 of 121

Message

From: Coogan, Daniel [Coogan.Daniel@epa.gov]

Sent: 3/12/2025 11:45:55 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]

cc: Jehling, Erica [Jehling.Erica@epa.gov]

Subject: Daily Summary Report of Grant Terminations as of 03/12/2025

Attachments: Grant Termination List.xlsx; Grant Terminations Report 2025.03.12.pdf

FYI. We will need to discuss the Injunction that will temporarily impact progress moving forward (I have it on my agenda
for tomorrow).

Quick summary:

° 33 grants awarded and cancelled

° 25 grants not yet awarded and cancelled

Notes:

1. Line 6 to Line 54, Column N, Project End Date updated to match the latest Termination amendment processed.

2. More grants have terminated and being validated against systems. More grant listing will be on 3/13/25 reporting.

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 101 of 121

This document is produced in native format.

Original file name:

Grant Termination List.xlsx

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Grant Termination Summary Report
Data compiled as of 03/12/2025

Date Filed 04/21/25

Entry Number 109-2

Page 102 of 121

No. of Grants Compass No. of Grants Not Amount Not Yet
Awarded and AmountAwarded Remaining Amount Yet Awarded and Awarded and
Region/HQ Cancelled and Cancelled (Estimate) Cancelled Cancelled
RO1 2 $1,000,000 $808,012 0 $0
RO2 0 $0 $0 0 $0
RO3 11 $25,491,371 $18,695,861 0 $0
RO4 2 $11,500,000 $8,947,408 0 $0
RO5 3 $20,000,000 $14,386,079 0 $0
ROG 2 $1,000,000 $643,182 0 $0
RO7 1 $8,000,000 $6,150,076 0 $0
ROS 1 $7,000,000 $6,430,046 0 $0
ROO 4 $9,600,000 $7,769,459 0 $0
R10 3 $9,377,458 $7,640,031 0 $0
HQ 4 $9,499,413 $6,743,841 25 $129,617,409
Total 33 $102,468,242 $78,213,994 25 $129,617,409
Total Amount Awarded and Cancelled by Region (%)
mwRO1
mRO2
BROS
mRO4
wROS
m ROG
wRO/
BRO8
ROO
R10

HQ

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

NATIONAL ASSOCIATION OF
DIVERSITY OFFICERS IN HIGHER
EDUCATION, et al.,

Plaintiffs, Case No. 25-cv-0333-ABA

Vv.

DONALD J. TRUMP, et al.,
Defendants

MEMORANDUM OPINION

The Court entered a Preliminary Injunction on February 21, 2025. ECF No. 45.
The Preliminary Injunction described the “Enjoined Parties” as “Defendants other than
the President, and other persons who are in active concert or participation with
Defendants.” Id. 3. Defendants, as identified in Plaintiffs’ complaint, are President
Trump in his official capacity, the Office of Management and Budget, the Departments
of Justice, Health and Human Services, Education, Labor, Interior, Commerce,
Agriculture, Energy, and Transportation along with the heads of those agencies (in their
official capacities), and the National Science Foundation.

Plaintiffs have filed a motion seeking “clarification” on whether the “Enjoined
Parties” include federal executive agencies, departments, and commissions (and their
subdivisions, agents, and officers) that are not named as defendants in this case. ECF
No. 50-1 (“Clarification Motion”) at 3. Defendants oppose the motion and argue that (4)
the Court lacks jurisdiction to consider the Clarification Motion because Defendants
have filed a notice of appeal; and (2) Plaintiffs’ interpretation, or requested clarification,
of the Preliminary Injunction is inconsistent with Federal Rule of Civil Procedure 65(d),

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Article III of the U.S. Constitution, and traditional principles of equity and the principles
underlying preliminary injunctive relief. See ECF No. 62.

For the reasons set forth below, the Court will grant the Clarification Motion. The
Court clarifies, pursuant to Federal Rule of Civil Procedure 65(d)(2)(B), as follows and
as set forth in the accompanying Clarified Preliminary Injunction (March 10, 2025) at
paragraph 3:

The Preliminary Injunction applies to and binds Defendants
other than the President, as well as all other federal executive
branch agencies, departments, and commissions, and their
heads, officers, agents, and subdivisions directed pursuant to
the J20 and J21 Orders (collectively, the “Enjoined Parties”).

I. JURISDICTION

Generally, the timely filing of a notice of appeal transfers jurisdiction to the court
of appeals and “divests the district court of its control over those aspects of the case
involved in the appeal.” Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58
(1982); Doe v. Pub. Citizen, 749 F.3d 246, 258 (4th Cir. 2014). An exception to this
general rule is when the district court “take[s] action that aids the appellate process.”
Pub. Citizen, 749 F.3d at 258 (citing Grand Jury Proceedings Under Seal v. United
States, 947 F.2d 1188, 1190 (4th Cir. 1991)). Under this exception, a district court may
modify an injunction to clarify it in order to “reliev[e] [the appellate court] from
considering the substance of an issue begotten merely from imprecise wording in the
injunction.” Lytle v. Griffith, 240 F.3d 404, 407 n.2 (4th Cir. 2001).

In Lytle, while an appeal was pending, the district court replaced a reference to
“the Commonwealth” to specify who was covered by the injunction (there, the Governor

of the Commonwealth of Virginia, and the Norfolk Commonwealth Attorney). Id.

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Similarly, in Dixon v. Edwards, the Fourth Circuit held that, while an appeal was
pending, the district court could modify an injunction barring an individual from
“officiat[ing] at religious services on or near the grounds” of a church by revising the
order to specify that the individual was “permitted to conduct religious services at least
300 feet distant from the perimeter” of the church. 290 F.3d 699, 709 & n.14 (4th Cir.
2001).

Here, Plaintiffs do not request a substantive amendment to the Preliminary
Injunction, but rather a clarification regarding which agencies are encompassed among
“Enjoined Parties.” The requested clarification is comparable to the modified orders in
Lytle and Dixon. Further, as explained below, the Court’s Memorandum Opinion that
accompanied the Preliminary Injunction cited actions by agencies that were not named
as defendants to explain the rationale for the Preliminary Injunction, and thus
clarification is further justified, and serves to “aid[] the appellate process,” Pub. Citizen,
749 F.3d at 258, “in light of a potential inconsistency between the language of the
Preliminary Injunction and that of the accompanying Memorandum Opinion.” See Am.
Coll. of Obstetricians and Gynecologists ex rel. Council of Univ. Chairs of Obstetrics &
Gynecology v. U.S. Food & Drug Admin., No. 20-cv-1320-TDC, 2020 WL 8167535, at *1
(D. Md. Aug. 19, 2020). Therefore, this Court may rule on the Clarification Motion and

clarify the terms of the Preliminary Injunction.!

1 Because the clarified preliminary injunction replaces the “in active concert or
participation” language from the February 21, 2025 order with clearer wording
consistent with the Court’s February 21, 2025 memorandum opinion, the Court need
not reach the issues raised by the parties as to what would render a non-named federal
executive agency “in active concert or participation” with a named Defendant.

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II. CLARIFICATION

Plaintiffs’ complaint challenges as facially unconstitutional three executive order
provisions, set forth in the Preliminary Injunction and referred to therein as the
Termination Provision, Certification Provision, and Enforcement Threat Provision. ECF
No. 45 { 2. As the Court explained in its February 21 Memorandum Opinion, those
provisions run afoul of the free speech protections of the First Amendment, and the due
process protections of the Fifth Amendment, and do so on their face. ECF No. 44 at 38-
Do:

Defendants acknowledge that the President was a named defendant in this case;
that the Challenged Provisions were directives to all executive agencies, departments,
and commissions; and that the Court has held that those directives are unconstitutional
on their face. ECF No. 62 at 3. Nonetheless, Defendants argue that the Court should
only preliminarily enjoin the actions of the specific departments, agencies and
commissions that Plaintiffs named as additional defendants. Id. at 14. They argue that
including other departments, agencies and commissions that are under the President’s
direction, and were in fact directed by the Challenged Provisions, is inconsistent with
Article III’s standing requirement because it would bind “nonparties who would
[otherwise] not be bound by the judgment.” Jd. at 13 (citing Haaland v. Brackeen, 599
U.S. 255, 293 (2023)). Defendants similarly argue that this kind of injunction is
inconsistent with traditional principles of equity and preliminary injunctive relief. Id.

The Court has previously explained why this is the proper scope of an injunction
given the claims, the nature of the challenged provisions, and the ways in which

Plaintiffs have shown a likelihood that the provisions are facially unconstitutional. See

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ECF No. 44 at 60-62; ECF No. 61 at 10. To reiterate and further explain, there are three
principal reasons.

First, Plaintiffs have shown a likelihood of success on the merits that the
Termination and Certification Provisions, and the Enforcement Threat Provision in
part, on their face constitute unlawful content-based and viewpoint-discriminatory
restrictions on speech in violation of the First Amendment, and on their face also run
afoul of due process because of their vagueness. ECF No. 44 at 38-55; see also ECF No.
61 at 1-2 (order denying stay pending appeal). In particular, the Court held that
Plaintiffs have shown a likelihood of success on the merits as follows:

e The Termination Provision, as to which Plaintiffs brought facial challenges

under the Spending Clause (Count 1) and the Fifth Amendment (Count 2),
“invites arbitrary and discriminatory enforcement” and “offers insufficient
notice to current grantees about whether and how they can adapt their

conduct to avoid termination of their grants or contracts,” and in so doing

399

facially violates the “‘more stringent vagueness test’” that applies when a law
““anterferes with the right of free speech or of association.’” ECF No. 44 at 38-
39 (quoting Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489,
499 (1982)).

e The Certification Provision, as to which Plaintiffs brought facial challenges
under the First Amendment (Count 5) and separation of powers (Count 6),

39 66

“operates as a facially viewpoint-discriminatory order,” “constitutes a content-
based restriction on the speech rights of federal contractors and grantees...

because such restriction expands to all of those contractors’ and grantees

work, whether funded by the government or not,” and also “unconstitutionally

5

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restricts, and retaliates against, contractors’ and grantees’ free speech rights
even within the scope of the pertinent programs.” Id. at 45 & 47-48.

e The Enforcement Threat Provision, as to which Plaintiffs brought facial
challenges under the First Amendment (Count 4) and Fifth Amendment
(Count 3), violates the First Amendment because it “threatens...
enforcement actions” using “a content-based restriction on protected speech
that would not pass the high bar of strict scrutiny” and further constitutes an
“unlawful viewpoint-based restriction on protected speech.” Id. at 50, 52. And
it violates the Fifth Amendment because, among other things, while
“rescind[ing] swaths of existing executive branch guidance on what the
executive branch considers the federal civil rights laws to require, prohibit, or
allow,” it gives no “guidance on what the new administration considers to
constitute ‘illegal DEI discrimination and preferences,’ J21 Order § 4(b)(iv),
or ‘[p]romoting diversity,’ id. § 3(b)(Gi), or ‘illegal DEI and DEIA policies,’ id. §
1, or what types of ‘DEI programs or principles’ the new administration
considers ‘illegal’ and is seeking to ‘deter,’ id. § 4(b)(iii).” Id. at 53-54.

Each of those ways in which Plaintiffs have shown that the Challenged Provisions
are unconstitutional are deficiencies with those provisions on their face. Any executive
agency, department or commission acting pursuant to the Challenged Provisions would
be acting pursuant to an order that Plaintiffs have shown a strong likelihood of success
in establishing is unconstitutional on its face.

Second, the Termination and Certification Provisions are directives the President
issued to all executive agencies, departments and commissions, J20 Order § 2(a)(i); J21
Order § 3(b)(iv), and the Enforcement Threat Provision was an express directive by the

6

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President to the Department of Justice. J21 Order § 4(b)(iii). Defendants named in
Plaintiffs’ complaint include the President in his official capacity. ECF No. 1 4 22. The
Preliminary Injunction—both original and as clarified—is tailored to the executive
branch agencies, departments and commissions that were directed, and have acted or
may act, pursuant to the President’s directives in the Challenged Provisions of the J20
and J21 Orders. See, e.g., Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561
U.S. 477, 513-14 (2010) (holding that the President is responsible and accountable for
executive agencies that are executing the laws); Seila Law LLC v. Consumer Fin. Prot.
Bureau, 591 U.S. 197, 203-204 (2020) (same).

Third, enjoining only the agencies that Plaintiffs specifically named, and ignoring
the fact that the President (who issued the Challenged Provisions) is a named defendant,
would fail to provide complete relief to Plaintiffs and their members themselves
because, among other things, they are at risk of their speech being chilled by many non-
named federal executive agencies, as Plaintiffs explain. ECF No. 65 at 13. Artificially
limiting the preliminary injunction in the way Defendants propose also would make the
termination status of a federal grant, or the requirement to certify compliance by a
federal contractor, turn on which federal executive agency the grantee or contractor
relies on for current or future federal funding—even though the agencies would be
acting pursuant to the exact same Challenged Provisions—thereby “causing ‘inequitable
treatment’ in an area in which uniformity is needed.” CASA, Inc. v. Maribel, No. 25-
1153, 2025 WL 654902, at “1 (4th Cir. Feb. 28, 2025) (quoting Roe v. Dep’t. of Defense,
947 F.3d 207, 231-32 (4th Cir. 2020) and HIAS, Inc. v. Trump, 985 F.3d 309, 326-27

(4th Cir. 2021)).

EPA_00041585
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Ill. CONCLUSION

For these reasons and those previously articulated, the Court will issue a separate
order clarifying that the Preliminary Injunction, consistent with the Court’s reasoning in
the February 21, 2025 Memorandum Opinion, applies as follows:

The Preliminary Injunction applies to and binds Defendants
other than the President, as well as all other federal executive
branch agencies, departments, and commissions, and their
heads, officers, agents, and subdivisions directed pursuant to
the J20 and J21 Orders (collectively, the “Enjoined Parties”).

Date: March 10, 2025 /s/
Adam B. Abelson
United States District Judge

EPA_00041586
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 111 of 121

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/13/2025 6:02:19 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-13

Attachments: Contract_Terminations_withAmounts_2025-03-13.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-13, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 112 of 121

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-03-13.xIsx

EPA_00041588 - EPA_00041607
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2

Page 113 of 121

Message

From: Coogan, Daniel [Coogan.Daniel@epa.gov]

Sent: 3/13/2025 7:46:44 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]

cc: Jehling, Erica [Jehling.Erica@epa.gov]

Subject: Daily Summary Report of Grant Terminations as of 03/13/2025

Attachments: Grant Termination List.xlsx; Grant Terminations Report 2025.03.13.pdf

While we work through the Temporary Injunction, this list will remain largely static.

Dan

EPA_00041608
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 114 of 121

This document is produced in native format.

Original file name:

Grant Termination List.xlsx

EPA_00041609 - EPA_00041625
2:25-Cv-02152-RMG

Grant Termination Summary Report
Data compiled as of 03/13/2025

Date Filed 04/21/25

Entry Number 109-2

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No. of Grants Compass No. of Grants Not Amount Not Yet
Awarded and AmountAwarded Remaining Amount Yet Awarded and Awarded and
Region/HQ Cancelled and Cancelled (Estimate) Cancelled Cancelled
RO1 2 $1,000,000 $808,012 0 $0
RO2 0 $0 $0 0 $0
RO3 11 $25,491,371 $18,695,861 0 $0
RO4 3 $11,700,000 $9,006,079 0 $0
RO5 3 $20,000,000 $14,386,079 0 $0
ROG 2 $1,000,000 $643,182 0 $0
RO7 1 $8,000,000 $6,150,076 0 $0
ROS 1 $7,000,000 $6,430,046 0 $0
ROO 4 $9,600,000 $7,769,459 0 $0
R10 3 $9,377,458 $7,640,031 0 $0
HQ 6 $9,899,396 $6,787,405 25 $129,617,409
Total 36 $103,068,225 $78,316,229 25 $129,617,409
Total Amount Awarded and Cancelled by Region (%)
mwRO1
mRO2
BROS
mRO4
wROS
m ROG
wRO/
BRO8
ROO
R10

HQ

EPA_00041626

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 116 of 121

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/13/2025 8:00:59 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00041627
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 117 of 121

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00041628 - EPA_00041693
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 118 of 121

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/14/2025 6:01:24 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-14

Attachments: Contract_Terminations_withAmounts_2025-03-14.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-14, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 119 of 121

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-03-14.xIsx

EPA_00041697 - EPA_00041716
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 120 of 121

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/14/2025 8:00:21 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-2 Page 121 of 121

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00041718 - EPA_00041783
